CONTRACT OPERATING SERVICES AGREEMENT

This Contract Operating Services Agreement (this “Agreement”) made and entered into
this _ day of July, 2015 by and between Traton Engineering Associates, L.P. (hereinafter
“Contractor”), and Primera Energy, L.L.C., (hereinafter “Owner”). Ovvner and Contractor are
referred to collectively as the “Parties” and individually as a “Party”.

WITNESSETH:

WHEREAS, OWner owns undivided Working interests in the oil and gas leases (the
“Leases”) located in the counties and states as described in or covered by the Subject JOAs, as
defined beioW, and as same may be amended from time to time (the land described in such
Leases is referred to herein as the “ContractArea”);

WHEREAS, Owner desires to retain the services of Contractor to act as a contract
operator for the Leases; and

WHEREAS, Contractor has the capability to and desires to render such services on behalf
of OWner. _

WHEREAS, Contractor Will perform the services as required by the OWner (Which is the
operator of record at the Texas RRC) under certain joint operating agreements covering the
Leases in the Contract Area more particularly described on Exhibit B, as same may be amended
from time to time (the “Subject JOAs”);

NOW, THEREFORE, based upon the mutual covenants and considerations contained
herein, the sufficiency of Which is hereby acknowledged, Contractor and OWner agree as
folloWs:

ARTICLE I
DESIGNATION AND RESPONSIBILITIES OF CONTRAC'I`OR

l.l Subject to the terms of this Agreement, Contractor shall conduct and direct all
operations on the Leases as permitted and required by and Within the limits of this Agreement
(the “Services”). Contractor shall perform all services With due diligence and dispatch in
accordance With the standards for the Operator under the Subject JOAs and generally accepted
oil field practice, conforming to all applicable laWs, rules, orders and regulations of any
competent governmental body, Which are now or may become applicable to the operations
contemplated by this Agreement. Owner agrees to assist Contractor by providing Contractor
With authorizations necessary for the proper performance of its services Contractor shall use all
possible care and diligence to ensure that the Services rendered pursuant to this Agreement are
performed:

l) reasonably and prudently;
2) in a skillful and Workrnanlike manner;

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3) in full compliance with all applicable local, municipal, county, state and

federal laws and regulations

Contractor shall perform all work and labor appropriate or necessary for setting, installing,
handling, caring for, and maintaining all materials, equipment, and supplies furnished by Owner
in connection with the Services.

1.2

Subject to the terms of this Agreernent, Contractor shall manage, develop and

supervise the Contract Area. Pursuant to such obiigations and as required by Owner and as

applicable,

1.3

Contractor shall:

(a) Supervise contract or Contractor’s pumpers, Whose services will
include but wilt not be limited to gauging tanks, recording well pressureJ preparing
gauge reports, treating oil, making minor repairs, and reporting unusual or abnormal
occurrences

(b) Review well performance and prepare for Owner monthly reports that
summarize production in Contractor’s standard form on a per weil basis for each of
the Subject JOAS. Contractor shall also note and evaluate any abnormal changes in
production

(c) Prepare and furnish to any duly constituted authority having
jurisdiction over the Leases any and all reports, statements and information that may
be required.

(d) Use its best efforts to establish and maintain complete and accurate
well files containing information on operations performed in connection With each
Well.

(e) Review and approve all invoices and charges for all expenses
incurred and credits received

(f) Keep accurate books of account showing all items of cost or expense
incurred in connection with the Leases, and Contract Area with respect to each of the
Subject JOAs, and make and pay all charges in accordance with the provisions of
this Agreement.

(g) Prepare and render billings to the Owner and non-operators with
respect to each of the Subject JOAs for approved expenses and charges for services

as Contractor as agreed herein

Upon Owner’s request, Contractor shall perform the following services in

connection with completing, working-oven or drilling any Well in the Contract Area, or
reworking, deepening, or piugging back a dry hole:

(a) Conduct field inspection and inventory equipment

(b) Locate and contract, on Owner’s behalf, contract pumpers or gagues
for the Contract Area

(c) Supervise all routine well service operations and repair and
maintenance operations, including onsite supervision of the installation or removal
of well equipment, pumping of any treating fluid or substance into a well, and other
onsite operations performed under contract by third party or with leased equipment

(d) Supervise all drilling and completion operations, workover
operations, recompletion operations, and any type of remedial operation, whether or
not it would ordinarily be considered a normal well-service operation. This includes
contracting with supervisory personnel for onsite supervision as required and
maintaining overall supervision of such personnel through day-to~day contact.

(e) Prepare operating and drilling procedures

(f) Prepare operating cost estimates and circulate Authorizations for
Expenditures for Owner’s approval

(g) Obtain all necessary drilling permits and file all necessary and
appropriate reports required prior to, during or after completion of operations

(h) Conduct overall supervision of drilling supervisor(s) through daily
monitoring of drilling, deepening, recompletion or other critical operationsl

(i) Prepare AFES and procedures and conduct overall supervision
through daily monitoring of field personnel, of plugging and abandonment
operations of any wells located in the Contract Area in compliance with all federal,
state and local regulations and orders.

(i) Provide emergency response assistance with respect to any accident,
spill, upset or similar occurrence requiring immediate action to protect the health,
safety and mechanical and environmental integrity of the Contract Area and
equipment located thereon

(k) Assist Owner in any efforts to market its interest in the Contract Area,
including making its records available and making knowledgeable personnel
available to accompany potential buyers and respond to questions as they inspect and
tour the properties

(l) Maintain land and lease documents
(m) Market Production.

(n) Perform any work falling under Contractor’s expertise as directed by
Owner.

(o) Unless otherwise agreed by Contractor, all contracts with third parties
(excluding contracts with drilling supervisor(s) for onsite supervision), shall be in
the name of Owner under master service contracts in form approved by Owner and
similar in form and substance to the Master Service Agreement that has previously
been established by Owner. Contractor shall have no liability with respect to third»
party contracts Provided, however, Contractor shall initiate no remedial work,
repairs, replacement of equipment, etc. with an estimated total cost exceeding
$25,000.00 without the prior written approval of Owner.

1.4 All personnel involved in the day-to-day lease operations shall be under the
supervision of the Contractor. The selectionJ hiring, dismissal and work schedule of such
contractors and employees of Contractor shall be determined by Contractor.

1.5 Owner shall have access at all reasonable times to the Leases, to all information
pertaining to wells drilled, production secured, and oil and gas marketed, and to the books,
records, and vouchers relating to the operation of the Leases Contractor shall, upon Owner’s
request, furnish Owner with weekly gauge and run ticketsl Notwithstanding anything to the
contrary herein, all information referenced in this Section 1.6 shall be the property of Owner.

1.6 Owner will grant Contractor access to an account for revenues, operating costs,
fees and expenses for each Contract Area under each of the Subject JOAs (the “Operatc`ng
Account”). Prior to the fifteenth (l$th) day of each month, Contractor will prepare and deliver to
Owner an operating statement for each of the Subject JOAs (the “Property Operating
Statement”), which Property Operating Staternent shall include (a) Contractor’s estimate of
production volumes; (b) actual revenues received in the prior month; (c) all costs, expenses and
charges billed by third parties to Contractor in the prior month, including, without limitation, all
sums due under the Leases and other liquidated monetary obligations; and (d) expenditures and
fees recorded by Contractor in form satisfactory to Owner. Promptly after delivery of the
Property Operating Statement, Contractor shall transfer sufficient funds from the revenue
account into the operating account necessary to cover operating costs, fees (including Contractor
fees) and expenses set forth on the Property Operating Statement. Contractor shall have the right
to withdraw funds from the Operating Account to pay for the services hereunder. The parties
hereto acknowledge and agree that from time to time the funds in the Operating Account may be
insufficient to cover the operating expenses for such month, in which case Contractor shall
immediately notify Owner of the projected shortfall and any interim payments into the account to
cover such shortfall Will be evaluated by Owner and paid on a case-by-case basis ln no event
shall Contractor be required to advance funds on behalf of Owner to conduct the operations or
proceed with any operations, unless there are available funds in the account to cover the cost of
such operations or Owner has contracted directly for such services

1.7 At all reasonable times and upon thirty (30) days prior written notice, Contractor
shall permit employees and agents of Owner to have access to its offices and work locations to
examine, reproduce and retain copies of such documentation and data and to interview
Contractor’s personnel in connection therewith, as necessary for Owner to verify and monitor (i)
the accuracy and propriety of Service fees and reimbursable expenses pursuant to this
Agreement, and (ii) Contractor’s compliance with the terms of this Agreement. Where Services
hereunder, are billed under fixed rates, Owner’s auditors shall have sufficient access to those

rates to satisfy themselves that the Services have not also been separately billed on some other
basis (e.g., a reimbursable hasis). The provisions of this Section l.7 shall be applicable during
the term of this Agreement and for a period of one (l) year thereafter. Any costs associated with
Owner’s audit requirements or procedures shall be solely for Owner’s account lf errors or
deficiencies are identified by an audit or otherwise, both Parties shall take prompt corrective
action thereof.

ARTICLE II
COMPENSATION OF CONTRACTOR

2.1 During the term of this Agreement, Contractor shall be compensated:

(a) For Services completed under Section 1.2, in accordance with the
overhead rate structure set forth on Exhibit B hereto.

(b) For Services completed under Section l.3, in accordance with the
hourly rate structure set forth on Exhibit C hereto.

22 The above compensation shall not include any direct costs and third-party costs
that are proper charges to the Contractor Account that are incurred by the Contractor in
connection with services rendered hereunder. Owner shall reimburse Contractor for any third-
party charges incurred by Contractor in accordance with this Agreement Within thirty (30)
business days of delivery of invoice.

ARTICLE III
RESPONSIBILITIES OF OWNER

3.1 Owner shall be the operator of record with respect to the Leases under each of the
Subj ect .lOAs.

3.2 Owner shall be duly authorized under all laws, rules, orders and regulations of
any competent governmental hody, which are now or may become applicable to the operations
contemplated by this Agreement and shall obtain and maintain all necessary permits, bonds and
sureties as may be required thereunder.

ARTICLE IV
HEALTH AND SAFETY OBLIGATIONS

BY EXECUTING THIS AGREEMENT, CONTRACTOR REPRESENTS AND
WARRANTS THAT lT lS QUALIFIED TO DO BUSINESS lN EACH OF THE
JURISDICTIONS WITHIN THE CONTRACT AREA. CONTRACTOR FURTHER
REPRESENTS AND WARRANTS THAT lTS EMPLOYEES ARE QUALIFIED AND
COMPETENT AND THAT CONTRACTOR IS, AND WlLL BE THROUGHOUT THE
DURATION OF THlS AGREEMENT, TRAINED AND COMPLIANT TO THE
STANDARDS OF A REASONABLY PRUDENT OPERATOR IN ALL MATTERS
RELATED TO HEALTH, SAFETY AND WOR_K ENVIRONMENT.

ARTICLE V
INDEPENDENT CONTRACTOR

Contractor undertakes the performance of the provisions of this Agreement as an
independent contractor, and neither Contractor nor any of its employees contractors or agents
Will be deemed to be an employee, servant, agent or partner of or joint venturer with Owner.
Owner shall not, in any respectJ be responsible for the hiring, employment or working conditions
of the persons employed or retained by Contractor in connection with the performance of
Contractor’s obligations under the terms of this Agreement.

ARTICLE VI
INSURANCE

Owner and Contractor shall each maintain insurance of the type, in the amounts and with
the limits set forth on Exhibit D hereto. Each party shall be named as an additional insured
under each of the other party’s policies for the duration hereof and each of such policies shall
contain a waiver of subrogation

ARTICLE VII
FORCE MAJEURE

Contractor shall not be liable to Owner for any loss on the Leases caused by war, strikes,
tornadoes, tloods, governmental priorities on materials or other governmental restrictions or
inability to obtain suitable equipment or labor resulting from any other causes not due to
Contractor’s failure to exercise reasonable diligence in the performance of Contractor’s
obligations hereunder. lf Contractor is delayed or prevented from performing for any such cause,
it shall do all things reasonably possible to remove such cause and shall resume performance
hereunder as soon as such cause is removed.

ARTICLE VIII
BINDING EFFECT OF AGREEMENT

This Agreement shall be binding upon and inure to the benefit of the parties, their
respective successors and permitted assigns The right of either party to assign this Agreement is
subject to the prior written consent of the non-assigning party, which consent shall not be
unreasonably withheld or delayed. Notwithstanding the immediately preceding sentence, each
party may assign and transfer this Agreement to an affiliate or pursuant to a reorganization or
change in control of such party or the person that controls such party without such consent Any
assignment in contravention of this Artz`cle VII] shall be void.

ARTICLE IX
AMENDMENT, TERMINATION AND TURNOVER DATE

9.l Either party hereto has the right to terminate this Agreement without cause by
providing the other party with sixty (60) days prior written notice. ln the event of a material
breach of this Agreement by either party, including the failure of a party to perform any
operation or action proposed hereunder that, the other party may terminate this Agreement by

providing the breaching party With thirty (3 0) days notice. ln the event of termination by Owner,
Owner shall pay Contractor in full all amounts due Contractor through the termination date.
Upon termination of this Agreement or partial termination as to any Contract Area, Contractor
will cooperate with Owner for an orderly transition of operations and will turn over all books and
records regarding the Contract Area upon request Owner shall compensate Contractor for post-
termination services requested by Owner and provided in connection with the transition at
Contractor’s standard hourly rate as set forth on Exhibit C.

9.2 Upon termination of this Agreement, the Parties shall not be relieved of any
liabilities arising from or incident to Services rendered The Parties shall not be liable to either
Party for any cost or loss in connection with such termination, including but not limited to loss of
anticipatory profits Upon termination of this Agreement, Contractor shall immediately remove
all of its and its subcontractors’ equipment and materials from Owner’s premises that are not
necessary for the completion of or the provision of any Service then underway and,
notwithstanding anything herein to the contrary, sixty (60) days after the receipt of Contractor of
notice of the termination of this Agreement by Owner, Owner shall bear no responsibility for the
equipment or materials of Contractor that remain on Owner’s premises but which are not
necessary for the completion or the provision of any Service then underway.

9.3 lf either party (a) generally fails to pay, or admits in writing its inability to pay, its
debts as they become due, (b) commences any insolvency proceeding with respect to itself, (c)
take any action to effectuate or authorize either (a) or (b), (d) becomes the subject of any
involuntary insolvency proceeding, or has any writ, judgment, warrant of attachment, execution
or similar process issued or levied against all or a substantial part of its properties, and any such
proceeding or petition is not dismissed, or such writ judgment, warrant of attachment, execution
or similar process is not released, vacated or fully bonded within sixty (60) days after
commencement, filing or levy (e), admits the material allegation of a petition against it in any
insolvency proceeding, or an order for relief is issued against it in any insolvency proceeding, or
(f) consents to the appointment of a receiver, trustee, custodian, conservator, liquidator,
mortgagee in possession (or agent therefore), for itself or a substantial portion of its property or
business then the other party may, by giving written notice to such party, terminate this
Agreement as of the date specified in such notice. A termination under this Section shall be
deemed a termination for cause,

ARTICLE X
NOTICES

Until changed by appropriate notice in writing, all notices, reports, and other
correspondence required by or made necessary by the terms of this Agreement shall be deemed
to have been duly given or served on the date on which personally delivered, or sent by
electronic transmission via email or facsimile transmission, with receipt acl<nowledged, or three
(3) Business Days after the same shall have been sent via certified United States l\/lail. For
purposes of this Agreement, the term “Business Days” means a day other than a Saturday,
Sunday or legal holiday for commercial banks under the laws of the State of Texas or the laws of
the United States of America.

ARTICLE XI
CONFIDENTIAL INFORMATION
AND OWNERSHIP OF DOCUMENTS

ll.l Any and all information, in whatever form or format, described or defined by
each party as confidential and made available to the other party for the performance of the
Agreement shall be and remain the exclusive property of the disclosing party and shall be treated
as confidential.

ll.2 With respect to such confidential information both parties agree not to disclose or
divulge such information to any third party except as may be necessary for the performance of
this Agreement. Both parties shall take reasonable measures to protect and preserve the
confidential nature of such information and shall be responsible for any breach hereof committed
by its employees it being understood that the confidentiality obligations of both parties are of a
continuing nature and shall continue for one (l) year after the termination date of this agreement

ll.3 The foregoing restrictions shall not apply to any such confidential information
that is:

(a) Already known by the receiving party at the time of disclosure;

(b) Publicly known or becomes publicly known through no fault of the
receiving party;

(c) Received from a third party that is free to disclose the information to
the receiving party;

(d) Communicated to a third party with the express prior Written consent
of the disclosing party; or

(e) Lawfully required to be disclosed to a governmental agency or is
otherwise required to be disclosed by law, provided that before making such
disclosure the receiving Party shall give the disclosing Party reasonable opportunity
to object or insure confidential treatment of the information

ll.4 Both parties acknowledge that the breach of this confidentiality obligation may
cause the other party serious economic harm and that the remedies available to the injured party
by law may be inadequate Therefore, upon any breach hereof by either party, the non-breaching
party shall be entitled to seek immediate injunctive relief and/or specific performance, in
addition to any other appropriate forms of equitable or legal relief, including but not limited to,
monetary damages and reasonable attorney’s fees

ll.5 Both Owner and Contractor agree that all tracings, designs, drawings, field notes,
requisitions, purchase orders, specifications computer programs (data files and other software in
whatever form), and other documents or records developed by such party in connection with this
Agreement or otherwise shall be the sole property of such party.

ARTICLE XII
AMENDMENTS TO THE AGREEMENT
AND GOVERNING LAWS

THIS AGREEMENT SHALL NOT BE VARIED EXCEPT WITH THE WRITTEN
CONSENT OF THE PARTIES. lN THE EVENT ONE OR MORE OF THE PROVISIONS lS
HELD lNVALIl) BY ANY COURT OF COMPETENT JURISDICTION, Tl-IE SAME SHALL
lN NO MANNER AFFECT THE VALlDITY OF ANY OF THE OTHER PROVISIONS. THIS
AGREEMENT SHALL BE CONSTRUED IN ACCORDANCE WITH 'l`HE LAWS OF THE
STATE OF TEXAS.

ARTICLE XIII
INDEMNIFICATION

13.1 CONTRACTOR SHALL GENERALLY HAVE THE PROTECTIONS,
BENEFITS, AND INDEMNIFICATIONS OF OWNER UNDER THE TERMS OF THE
A.A.P.L. F()RM 610 - 1989 MODEL FORM OPERATING AGREEMENT (“l__OA”) JUST
AS IF CONTRACTOR WERE THE DESIGNATE]) OPERATOR UNDER THE JOA,
AND TO THE FULLEST EXTENT POSSlBLE, OWNER HEREBY ASSIGNS AND
TRANSFERS ALL OF SUCH PROTECTIONS, BENEFITS AND INI}EMNIFICATIONS
'I`O CONTRACTOR DURING THE TERM OF ’I`HIS AGREEMENT; PROVIDED,
H()WEVER, THAT SUCH ASSIGNMENT SHALL NOT ENTITLE CONTRACTOR (A)
TO CLAIM OR ASSERT ANY LIENS OR SECURITY INTERESTS THAT WOULD BE
GRANTED TO THE ()PERATOR UNDER THE JOA, OR (B) 'I`O SETTLE ANY
CLAIMS OR LAWSUITS PERTAINING TO THE CONTRAC'I` AREA.

13.2 CONTRACTOR’S RELEASE OF OWNER:

CONTRACTOR RELEASES OWNER AND OWNER’S PARENT, SUBSIDIARIES,
OFFICERS, DIRECTORS, AND EMPLOYEES (“OWNER PARTIES”) OF AND FROM
ANY LIABILITY AS TO ALL CLAIMS, PENALTIES, DEMANDS, AND CAUSES OF
ACTION OF EVERY KIND AND CHARACTER, WITHOUT LIMIT AND WITHOUT
REGARD T() THE CAUSE OR CAUSES THEREOF OR THE NEGLIGENCE
(EXCLUDING GROSS NEGLIGENCE AND WILLFUL MISCONDUCT) OF ANY OF
THE OWNER PARTIES, ON ACCOUNT OF BODILY INJURY, DEATH AND/OR
DAMAGE 'I`O OR L()SS OF PROPERTY OF ANY KIN]). CONTRACTOR’S
OBLIGATIONS UNDER THIS SECTION SHALL BE PRIMARY AND WITHOU'I`
REGARD TO AND WITHOUT ANY RIGHT TO CONTRIBUTION FROM ANY
INSURANCE MAINTAINED OR MADE AVAILABLE TO OWNER. CONTRACTOR
AND OWNER HEREBY AGREE THAT CONTRACTOR WILL BE COVERED BY
AVAILABLE LIABILITY INSURANCE, UNDER WHICH THE INSURER HAS NO
RIGHT OF SUBROGATION AGAINST OWNER OR CONTRACTOR. IT IS AGREED
THAT SAID INSURANCE REQUIREMENTS SHALL AUTOMATICALLY BE
Al\/[ENDE]) TO C()NFORM TO THE MAXIMUM MONETARY LIMITS PERMITTED
UNDER APPLICABLE LAW.

13.3 OWNER’S RELEASE OF CONTRACTOR:

OWNER RELEASES CONTRACTOR AND CONTRACTOR’S PARENT,
SUBSIDIARIES, OFFICERS, DIRECTORS, AND EMPLOYEES (“CONTRACTOR
PARTIES”) OF AND FROM ANY LIABILITY AS TO ALL CLAIMS, PENALTIES,
DEMANDS, AND CAUSES ()F ACTION OF EVERY KIND AND CHARACTER
WITHOUT LIMIT AND `WITHOU'I` REGARD TO THE CAUSE OR CAUSES
THEREOF OR THE NEGLIGENCE (EXCLUI}ING GROSS NEGLIGENCE AND
WILLFUL MISCONDUCT) OF ANY OF THE CONTRACTOR PARTIES, ON
ACCOUNT OF BODILY INJURY, DEATH AND/OR DAMAGE TO OR LOSS OF
PROPERTY OF ANY KIND. OWNER’S OBLIGATIONS UNDER THIS SECTION
SHALL BE COVERED BY AVAILABLE LIABILITY INSURANCE, UNDER WHICH
THE INSURER HAS NO RIGHT OF SUBROGATION AGAINST ()WNER OR
CONTRACTOR. IT IS AGREED THAT SAID INSURANCE REQUIREMENTS SHALL
AUTOMATICALLY BE AMENDED TO CONFORM T() THE MAXIMUM
MONETARY LIMITS PERMITTED UNDER APPLICABLE LAW.

13.4 THIRD PAR’I`Y CLAIMS:

For losses, claims, demands, liabilities, or causes of action brought by or on behalf of
anyone other than those claimants listed in Sections 13.2 and 13.3 above, the Parties’
respective indemnity obligations shall be as set forth in this Section 13.4.

(1) Contractor’s Negligence: CONTRACTOR AGREES T() PROTEC'I`,
DEFEND (INCLUDING ALL COSTS, EXPENSES, AND REASONABLE
ATTORNEYS’ FEES), INDEMNIFY, RELEASE AND HOLD THE OWNER
INDEMNIFIED PARTIES HARMLESS FROM AND AGAINST ANY AND ALL
LOSSES, CLAIMS, DEMANDS, LIABILITIES, OR CAUSES OF ACTION OF
EVERY KIND AND CHARACTER, IN FAVOR OF ANY PERSON OR PARTY,
FOR INJURY TO OR ILLNESS OR DEATH OF ANY PERSON, OTHER THAN
AS PROVIDED IN SECTIONS 13.2 AND §§ ABOVE, OR DAMAGE TO OR
LOSS OF PROPERTY OF ANY SUCH PERSON, AND WHICH SUCH INJURY,
ILLNESS, DEATH OR PROPERTY DAMAGE ARISES OUT OF OR IS
INCII)ENT TO ANY WORK OR SERVICE TO BE PERFORMEI) UNDER THIS
AGREEMENT TO THE EXTENT, AND IN THE PROPORTION THAT, SUCH
IN.]URY, ILLNESS, DEATH OR PROPERTY DAMAGE IS CAUSED OTHER
THAN BY THE NEGLIGENCE OF OWNER, ITS EMPLOYEES, AGENTS OR
OTHER CONTRACTORS THAT ARE DIREC'I`LY RESP()NSIBLE TO OWNER.

(2) Owner’s Negligence: OWNER AGREES TO PROTECT, DEFEND
(INCLUDING ALL COSTS, EXPENSES, AND ATTORNEYS’ FEES),
INDEMNIFY, RELEASE AND HOLD THE CONTRAC'I`OR INDEMNIFIED
PARTIES HARMLESS FROM AND AGAINST ANY AND ALL LOSSES,
CLAIMS, DEMANDS, LIABILITIES, OR CAUSES OF ACTION OF EVERY
KIND AND CHARACTER, IN FAVOR OF ANY PERSON ()R PAR'I`Y, FOR
INJURY TO OR ILLNESS OR DEATH OF ANY PERSON, OTHER THAN AS
PROVIDED IN SECTIONS 13.2 AND §§ ABOVE', OR DAMAGE TO OR LOSS
OF PROPERTY OF ANY SUCH PERSON, AND WHICH SUCH INJURY,
ILLNESS, DEATH OR PROPERTY I)AMAGE ARISES OUT OF OR IS

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INCIDENT TO ANY WORK OR SERVICE TO BE PERFORME]) UNDER THIS
AGREEMENT, TO THE EXTENT, AND ONLY TO THE EXTENT, AND ONLY
IN THE PROPORTION THAT, SUCH IN.}URY, ILLNESS, DEATH OR
PROPERTY DAMAGE IS CAUSED BY THE NEGLIGENCE OF OWNER, ITS
EMPLOYEES, AGENTS OR OTHER CONTRACTORS THAT ARE DIRECTLY
RESPONSIBLE TO OWNER.

13.5 I'I` IS THE INTENT OF THE PARTIES HERETO THAT ALL
OBLIGATIONS, LIABILITIES, AND RISKS ALLOCATED OR ASSUMED BY THE
PARTIES UNDER TERMS OF THIS CONTRACT, INCLUDING, WITHOUT
LIMITATION, SECTIONS 13.2 THROUGH LM, BE WITHOUT LIMIT AND
WITHOUT REGARD T() THE CAUSE OR CAUSES THEREOF, INCLUDING
PREEXISTING CONDITI{)NS, STRICT LIABILITY, VIOLATIONS OF ANY STATE,
OR FEDERAL LAW, BREACH OF CONTRACT, BREACH OF WARRANTY,
TRESPASS, CONVERSION, NUISANCE, TORT, OR THE NEGLIGENCE OF ANY
PARTY OR PARTIES, WHETHER SUCH NEGLIGENCE BE SOLE, .IOINT OR
CONCURREN'I‘, AC'I`IVE OR PASSIVE. THE RELEASES AND ASSUMPTIONS OF
LIABILITY AND ALLOCATIONS OF RISKS EXTENDED BY THE PARTIES
HERETO UNDER SECTIONS 13.2 THROUGH 13_.4 SHALL INURE TO THE BENEFIT
OF THE PARTIES, THEIR PARENT, HOLDING AND SUBSIDIARIES, AFFILIATES,
AND THEIR RESPECTIVE OFFICERS, DIRECTORS, EMPLOYEES, AGENTS AND
SERVANTS. THE TERMS AND PROVISIONS OF SECTIONS 13.2 THROUGH 13.4
SHALL HAVE NO APPLICATION TO CLAIMS OR CAUSES OF ACTION ASSERTED
AGAINST OWNER OR CONTRACTOR BY REASON OF ANY AGREEMENT OF
INDEMNITY WITH A PERSON OR ENTITY NOT A PARTY HERE'I`O.

13.6 IT IS EXPRESSLY AGREED THAT OWNER SHALL NOT BE LIABLE
T() THE CONTRACTOR PARTIES FOR ANY SPECIAL, PUNITIVE, INDIRECT,
INCIDEN'I`AL OR CONSEQUENTIAL DAMAGES RESULTING FROM OR ARISING
DIREC'I`LY OR INDIRECTLY, OUT OR OF IN CONNECTION WI'I`H THE SERVICES
OR OPERATIONS HEREUNDER RELATED TO RESERVOIR DAMAGE, LOSS OF
RESERVES, OR CRATERING OR BLOWOUT OF THE BOREHOLE, INCLUDING,
WITHOUT LIMITATION, LOSS OF USE, LOSS OF DATA, LOSS OF ASSETS, LOSS
OF PROFIT, LOSS OF BUSINESS, OR BUSINESS INTERRUPTION UNLESS CAUSED
BY THE SOLE NEGLIGENCE (ACTIVE OR PASSIVE) OF OWNER OR ANY OF THE
OWNER PARTIES.

13.7 IT IS EXPRESSLY AGREED THAT CONTRACTOR SHALL NOT BE
LIABLE TO THE OWNER PAR'I`IES FOR ANY SPECIAL, PUNITIVE, INDIRECT,
INCIDENTAL OR CONSEQUENTIAL DAMAGES RESULTING FROM OR ARISING
DIRECTLY OR INI)IRECTLY, OUT OR OF IN CONNECTION WITH THE SERVICES
OR OPERA'I`IONS HEREUNDER RELATE]) TO RESERVOIR DAMAGE, LOSS OF
RESERVES, OR CRATERING OR BLOWOUT OF THE BOREHOLE, INCLUDING,
WITHOUT LIMITATION, LOSS OF USE, LOSS OF DATA, LOSS OF ASSETS, LOSS
OF PROFIT, LOSS OF BUSINESS, OR BUSINESS INTERRUPTION UNLESS CAUSEI)
BY THE SOLE NEGLIGENCE (ACTIVE OR PASSIVE) OF CONTRACTOR OR ANY
OF THE CONTRACTOR PARTIES.

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l3.8 As a part of the consideration for this Agreement, Contractor hereby agrees that
the provisions of the foregoing Sections 13.2. through M inclusive shall extend to and be
enforceable by and for the benefit of any non-operating concurrent working interest owners, joint
ventures or partners for whom Owner may be performing operations or services

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14.1 This Agreernent, drawn in counterpart, shall be binding upon the Parties and their
respective successors, and assigns Notwithstanding the foregoing, this Agreement and the
duties and obligations hereunder are not assignable by Contractor without the written consent of
Owner.

l4.2 fn any dispute arising among the Parties to this Agreement, the prevailing party
shall be entitled to collect all costs, including attorneys’ fees

14.3 The captions of any articles herein are intended for convenient references only
and same shall not be, nor be deemed to be, interpretive of the contents of such sections

14.4 Harris County, Texas shall be the exclusive venue and jurisdiction for any
litigation between the Parties

14.5 lf any provision or part of any provision of this Agreement shall be held invalid,
the remainder shall be deemed valid and effective, and the Parties shall endeavor to replace the
invalid terms with terms which correspond best to the original economic and general intention of
the Parties, it being the intention of the Parties hereto that each provision hereof is being
stipulated separately

14.6 EACH PARTY HERETO KNOWINGLY, VOLUNTARILY,
INTENTIONALLY, AND IRREVOCABLY (a) WAIVES, TO THE MAXIMUl\/l EXTENT
NOT PROHIBITED BY LAW, ANY RIGHT IT MAY HAVE TO A TRIAL BY lURY lN
RESPECT OF ANY LITIGATION BASED ON THIS AGREEMENT, OR DIRECTLY OR
TNDIRECTLY AT ANY TIME ARISING OUT OF, UNDER OR lN CONNECTION WITH
THlS AGREEMENT OR ANY TRANSACTION CONTEMPLATED OR ASSOCIATED
THEREWITH, BEFORE OR AFTER TERMINATION; (b) WAIVES, TO THE MAXIMUM
EXTENT NOT PROHlBlTED BY LAW, ANY RIGHT IT MAY HAVE TO CLAIM OR
RECOVER lN ANY SUCH LlTIGATION ANY “SPECIAL DAMAGES,” AS DEFINED
BELOW; (c) CERTIFIES THAT NElTHER IT NOR ANY OF ITS REPRESENTATIVES,
AGENTS OR COUNSELORS HAS REPRESENTED, EXPRESSLY OR OTHERWISE, OR
IMPLIED THAT THE CERTIFYING PARTY WOULD NOT, IN THE EVENT OF
LITIGATlON, SEEK TO ENFORCE THE_ FOREGOING WAIVERS; AND (d)
ACKNOWLEDGES THAT lT HAS BEEN INDUCED TO ENTER INTO THlS AGREEMENT
AND THE TRANSACTIONS CONTEMPLATED THEREBY, BY, AMONG OTHER
THINGS, THE MUTUAL WAIVERS AND CERTIFICATIONS IN THlS SECTION. AS
USED IN THIS SECTION, “SPECIAL DAll£AGES" INCLUDES ALL SPECIAL,
CONSEQUENTIAL, INDIRECT, EXEMPLARY, OR PUNlTIVE DAMAGES

12

(REGARDLESS OF HOW NAMED), BUT DOES NOT lNCLUDE ANY PAYMENTS OR
FUNDS WHICH ANY PARTY HAS EXPRESSLY PROMISED TO PAY OR DELIVER TO
ANY OTHER PARTY.

14.7 This instrument embodies the whole agreement of the Parties There are no
promises, terms, conditions, or obligations other than those contained herein. Should Contractor
provide or render any Service, then in the event of a conflict between the terms of performance
for such Services or Service, whether made orally or in writing, and the terms of this Agreement,
the terms of this Agreement shall prevail except for any activity-specific instructions or
directions ln the event of a conflict between the provisions hereof and the provisions of any
printed or other pre-prepared form of work or service order, job, or delivery ticket, or other
similar form, submitted to Contractor by Owner in connection with any Services performed
hereunder, the provisions of this Agreement shall prevail and be controlling

[SIGNA TURES APPEAR ON THE FOLLO WING PA GE]

13

lN WlTNESS WHEREOF, the Parties have executed this Agreement effective as of the
day and year first above written.

TRATON ENGINEERING ASSOCIATES, L.P.

By :
Printed Name:
Title:

 

 

 

PRIMERA ENERGY, L.L.C.

By:
l\lame:
Title:

 

 

 

Signature Page to
Contract Operator Services Agreement

EXHIBIT A

SUBJECT JOAS

Exhibit A to Page 1
Contract Operator Services Agreement

A.A.P.L. FORM 610 - 1989

MODEL FORM OPERATING AGREEMENT
HORIZONTAL MODIFICATIONS

OPERATINC AGREEMENT
DATED
lilly , 2015 ,

 

Year

OPERATOR Primcia Energv LLC

CONTRAC'I` AREA See Exhibit A

 

 

 

 

 

 

 

 

COUNTY OR PARISH OF Multinle , STATE OF 'i`cxas

 

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ANIERICAN ASSOCIATION OF PROFESS!ONAL

LANDMEN, 4100 F()SSIL CREEK BLVD. FORT

WORTH, TEXAS, 76137, APPROV`ED FORM.
A.A.P.l... NO. 610 - 1989 (Hnrz.)

 

 

 

 

 

 

 

 

 

 

 

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A.A.P.L. FOR_M 610 - MODEL FORM OPERA'I`ING AGRE¥EMENT - 1989 (Horz.)

OPERATENG AGREEM:ENT

TI'US AGRBEMIEN'I`, entered into by and belween Primera Elicruv LLC
herein:n°rer designated and referred to as "Operator," and the signatory party or parties other than Opelator, sometimes hereinafter referred
to individually as “Non-Operalor," and collectively as "Non-Opcrators“

W'ITNESSETH:

WHEREAS, the parties to this agreement are owners of CIil and Gas Leases and/or 011 and Gas lnterests in the land
identified in Exhibil "A," and the parties hereto have reached an agreement to explore and develop these Leases and/or Oil
and Gas luteresls for the production of Oil and Gas to the extent and as hereinaher provided,

NOW, THER.EFORE, it is agreed as follows:

ARTICLE l.
DEFI'N'[TIONS t

As used in this agreement the following words and terms shall have the meanings here ascribed to them;

A. The term "AFE“ shall mean an Authority for Expcnditure prepared by :1 party to this agreement f`or the purpose of estimating
the costs lo be incurred iri conducting an operation hereunder. An AFE is not a eonlraclual commitmentl Radier it is only an estimate, made
in good faith.

B. The term "Cornplelion" cr "Comp|ete" shall mean a single operation intended to complete a well as a producer of Oil and Gas
in one or more Zones, including but not limited to, the setting of production casing, perforating, well stimulation end production testing
conducted in Suclt operation

C. 'l`he term "Contlact Area" shall mean all of the lands, Oil and Gas Leases and/or Oil and Gas lnlerests intended to l)e
developed and operated for Oi| and Gas purposes under this agreement Such lands Oil end Gas Leases and Oil and Gas lnterests are
described in Eid)ibit "A.*'

D. The term "Deepen" shall mean a single operation whereby a weil is drilled to an objective Zone below the decpest Zone in
Which the well was previously drilled, or below the Deepest Zone proposed in the associated AFE, whichever is the lessen Whon used in
connection with a Horizontal Well, the term “Deepen" shall mean an operation whereby a Lateral is drilled to a Displacement greater than
(i) the Displacernent contained in the proposal for such operation approved by the Consenting Partics, or (ii) to the Displacement to which
thc Lalera| was drilled pursuant to a previous proposal

E. The term "Displacemeut“ shall have the same meaning as die term defined by the state regulatory agency having jurisdiction
over the Contract Area, in the absence ot`wliich the term shall otherwise mean the length cfa Lateral.

F, The terms “Dri]ling Party" and "Consenting Party" shall mean aparly who agrees to join in and pay its share ofthe cost of any
operation conducted under the provisions of this agreement

G. The term “Dri|liog Unit" shall mean the area fixed for the drilling of one well by order or rule of any state or federal
body having authorityl If` a Dri|ling Unit is not fixed by any such rule or order, a Dri|ling Unit shall be the drilling unit as
established by die pattern of drilling in the Contract Area unless fixed by express agreement of the Drilling Parties

H. The term "Dri|lsite" shall mean the 011 and Gas Lease or Gil and Gas Interest on which a proposed well is to be
looaled. When used 111 connection with a Horizontal Well, the term "Drillsile“ shall mean (i) the surface hole location, and (ii) the Oil and
Gas Leases or Oil and Gas lnleresls within the Drilling Unil on or underwhich the wellbore, including the Lateral, is located

l The term “l~lorizontal Rig Move-On Period” shall mean the number of days alter the date cf rig release of s Spudder Rig until
the date a rig capable of`drilling a I'Iorizoma| Well 10 its Totel Measured l)epth has moved onto location.

J. The term “Horizontal Well” shall have the same meaning as the term defined by the state regulatory agency having
jurisdiction over the Contract Area, in the absence of which die term shall mean a well containing one or more Lalera|s which ere drillcd,
Compleled or Recomp1eted in a manner in which the horizontal component of the Completion interval (l) extends al least one hundred feet
(IUO’) in the objective forrnation(s) and (2] exceeds the vertical component of die Completion interval in the objective formation{s).

K. The term "Inilial Wel|" shal1 mean the well required to bc drilled by the parties hereto as provided in Article VI.A.

L` The term “Lateral” shall mean that portion of a we|lborc that deviates li‘om approximate vertical orientation to approximate
horizontal Orientatlon and all wellbore beyond such deviation to Total Measurcd Depth.

M, The term "Non-Consen\ Wel|" shall mean a well in which less than all parties have conducted an operation as provided in
Article VI,B,Z.

`N` The terms "Non-Drilling Party" and "Non-Consenting Psrry" shall mean u party who elects net lo participate in s proposed
operation.

O. The term "Oil and Gas" shall mean oil, gas, casinghead gas, gas condensate, auditor all other liquid or gaseous hydrocarbons and
other marketable substances produced therewith, unless an intent to limit the inclusiveness ofthis term is specifically stated

P. The term "Oil and Gas lnlerests" or "Interests" shall mean unleased fee and mineral interests in Oi| and Cras in tracts of land
lying within the Contract Area which are owned by parties to this agreement

Q. The terms "Oi| and Gas Lease," "Lease" and "Leasehcld" shall mean the oil and gas leases or interests therein covering tracts
ofland lying within the Contract Area which are owned by the parties to this agreement

R. The term “Plug Back" shall mean a single operation whereby a deeper Zone is abandoned in order to attempt a Completion in
a shallower Zone. Wl'len used in connection with a Horjzontal Well, the term “Plug Bael<“ shall mean an operation to test or Complete the
Well at a strotigraphically shallnwer Zone in which the operation has been or is being Completed and which is not in an existing Laleral.

51 The term "Recompletion" or "Recomplete*' shall mean an operation whereby s Completioo in one Zone is abandoned in order
to attempt a Comp|etion in a different che within the existing wel|bore.

T. The term "Rework" shall mean an operation conducted in the we|lbore of a well nder it is Completed to secure, restore, or
improve production in a Zone which is currently open to production in the wellbore` Such operations include, but are not limited to, well
stimulation operations but exclude any routine repair or maintenance work or drilling, Sidetrack`mg, Deepening, Comp|eling,
Reoompletlng, or Plugging Baclc ofa well

U. The term “Sidetreck" shall mean the directional control and intentional deviation of o well from verlica| so ns to change the
bottom hole location unless done to straighten the hole or drill around junk in the hole to overcome other mechanical difficulties W'hen used

   

 

 

   

 

 

 

   

   

 

   

 

 

   

 

 

   

   

 

 

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A.A.P.L. FORM 610 - MODEL FORM OPERATING AGREBMENT - 1989 (HOIZ.)

over the Contract Aree, in the absence of`wbich the term shall mean the furthest point drilled in the Latera|`

X. The term “Total Measured Depth," when used in connection with a l~lorizontal Well, shall mean the distance from the surface of
the ground to the Terminus, as measured along and including the vertical component of the well and l.ateral{s), When the proposed
operation(s) is the drilling of, or operation on, a Horizontal Well, the terms “depth” or “total depth" wherever used in this agreement shall be
deemed to read “Totel Measured Depth" insofar as it applies to such well.

Y. The term “Vertical Well” shall mean a well drilled, Completed or Recompletecl other than a Horizontal Well.

Z` The term "Zone" shall mean a stratum of earth containing or thought to contain a common accumulation of C}il and Gas
separately producible from any other common accumulation ofOi| and Gas.

Unless the context otherwise clearly indicates, words used in the singular include the plural, the Word "person" includes
natural and artilicial persons, the plural includes the singular, and any gender includes the mascu|ine, feminr`ne, and neuter,

ARTICLE ll
EXHIBITS
The following ex.liibits, as indicated below and attached hereto, are incorporated in and made a part hereof:
X A‘ E)rhibit "A," shall include the following information:
(l) DeScription of lands subject to diis agreement,

 

 

 

H-)Re§triet_ien§;l_ _ s __ .. , ,, , n timeliness , _______________

(3) Parties to agreement with addresses and telephone numbers for notice purposes,

(rl;)£ereeatage_¢__r_f-_ ;`_ _"___ _faw'_ti__¢t_ age , , ‘ ,,,,,,,,,,,

(5) Oil and Gas Leases and/or Oil and Gas Interests subject to this agreement

fél§vrdens+;e»eredeetiea,, w _________________..._. ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
_ B. Exhibit "B," Form ot`Lease. ' _'
L o exhibit 'c,' swimming detective `
__)_(__ D. Exhibit "D," lnsura.nce.
_____ E. Exhibit "E.," Gas Balaricing Agreement.
_m F` Exhibit "I",“ Non-Discrimination and Cenification cf Non~Segregated Facilities.
j G. E)chibit "G," Tax Partnersliip,
L H. Other: Memorandum of`()geratiug Agreement

Il` any provision of any exhibit, except Bxhibits "E," "F" and "G," is inconsistent With any provision contained in the body of this
agreement, t.he provisions in the body Of` this agreement shall prevail.
A.RTICLE lll.
lNTERESTS OF PART[ES
A. Oil and Gns lnterests:
lB-uny-pady-evms-aa-Qil-und-Guselnteresein_dieGenkeet-Areo;-thut-hatereseshaH-be-tsea+ed-for-o|l‘purpesesef-thisagieernent

and-during-the-term--heroel'-us-ii"-it-weae-eevered l)y'~lhe-tbrne-of-Qil-and-Gos~bcaso-utteehed-berete-os-Eetliibit»r"B;Land-the-e\aaier
th ¢`i»\lll l 40 LFI l¢‘¢ \' Ll ,I¢ln 'f +F|\l |L r\
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B. Interests oi'Psirtles in Costs and Productioii:
Unless changed by other provisions, all costs and liabilities incurred in operations under this agreement shall be borne and paid,
and all equipment and materials acquired in operations on the Contract Area shall tie owned, by the parties as their interests are set forth in
Ex.hibit "A." in the same manner, the parties shall also own all production of Oi| and Gas from the Contract Area subject, however, to the
payment of royalties and other burdens on production as described hereafter.
Regardless of which party has contributed any Oil and Gas Lease or Oil and Gas lnterest on which royalty or other burdens may
be payable end except as otherwise expressly provided in this agreement, each party shall pay or deliver, or cause to be paid or deliveredl

s royalty and
shall indeinnil`y, defend and hold the other parties free from any liability therel`ol'. Exccpt as otherwise expressly provided in this agreei'ncntJ

 

all burdens on its share cf the production from the Contract Area up to, but not in excess of, Minernl

if any party has contributed hereto any [.ease or liiterest which is burdened with any rcyalty, overriding royalty, production payment or
other burden on production in excess of the amounts stipulated above, such party so burdened shell assume and alone bear all such excess
obligations and shall indemnify, defend and hold the other parties hereto harmless from any and all claims attributable to such excess burden.
Howcver, so long as the Drilling Unit for the productive Zone(s) is identical with the Contract Area, each party shall pay or deliver, or cause
to be paid or delivered, all burdens on production from die Contract Area due under the terms cfthe Oil and Gas Lease(s) which such party
has contributed to this agreement, and shall indemnify, defend and hold the other parties free from any liability therefor,

No party shall ever be responsible, on a price basis higher than the price received by such pa.rty, to any other paity‘s lessor or
royalty owner, and if such other party's lessor or royalty owner should demand and receive settlement on a higher price basis, the party
contributing the affected Lease shall bear the additional royalty burden attributable to such higher price

Nothirig contained iii this Arlicle Il[.B. shall bc deemed an assignment or crossvassignrnent ol' interests covered hereby, and in
the event two or more parties contribute to this agreementjointly owned Leases, the parties' undivided interests in said l,easeho|ds shall be
deemed separate leasehold interests for the purposes oftbis agreement
C. Subseqilently Created Intcrests:

lf` any party has contributed hereto a Lease or Interest that is burdened with an assignment of production given as security for the
payment of money, or it', after the date of this agreement, any party creates an overriding royalty, production payment, net profits interest,
assignment of production or other burden payable out of production attributable to its working interest hereunder, such burden shall be
deemed a "Subsequently Created lnterest“‘ Further, if any party has contributed hereto a Lease or Interest burdened with an overriding
royalty, production payment, net proEts interests, or other burden payable out of production created prior to the date of this agreement, end
such burden is not shown on Exhibit "A," such burden also shall be deemed a Subsequently Created lnterest to the extent such burden
causes the burdens on such party‘s Lease cr ]nterest to exceed the amount stipulated in Artic|e ][l.B` above.

The party whose interest is burdened with die Subsequently Created l.nterest (the "Burdened Party") shall assume and alone
bear, pay and discharge the Subscquently Creatcd interest and shall indemnify, defend and hold harmless the other parties l'rorn and against

   

 

 

 

 

 

 

 

 

 

 

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A.A.P.L. FORM 610 - MODEL FORM OPERATING AGREEMENT - 1939 (Horz.)

 

ARTICLE lV.
TITLES
A. Tit|e Examination.'
Title examination shall be made on the Drillsitc of any proposed well prior to commencement of drilling operations and, ifa
U:_igtif'y in interest of the Drilling Parties so request in Writing or Operator so elects, title examination shall be made on the entire Drilli}:}g|:

maximum anticipated Drilling Unit, of the well. The opinion will include tlic ownership of the working interest, mincrals, royalty,
overriding roya§ty and production payments under the applicable Leases. Each party contributing Leases and/or Oii and Gss Intercsts to be
included iri the Drillsitc or Drilling Unit, it' appropriate shall fumish to Operatcr all abstracts (inciuding federal iease status reports)_ title
opinions, title papers and curative material itt its possession free of charge All such information not in the possession ot`or made avaitable to
Operator by the parties but necessary for the examination ofthc title, shali be obtained by Operator Operator shall cause title to be examined

 

by atto(rineys on its staff or by outside attorneys Copies of all title opinions shall be furnished to each Dril|ing Parry upon request Co§ts
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Slperator in procuring abstracts, run sheets, fees paid outside attorneys and brokers for title examination (incl'uding preliminary, supplcmcnat`z:l,
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opinions and division order title cpinions] and other direct charges as provided in Exhibit "C" shall be borne by the Driliing Parties in the
proportion that the interest of each Drilling Party bears to the total interest of all l)i'iliing Parties as such interests appear in Exhibit "A1"
Operator shall make no charge for services rendered by its staFt`attomeys or other personnel in the performance ofthe above ti.mctions.

Each party sba|t be responsible for securing curative matter and pooling amendments or agreements required in connection with
Leases or Oil and Gas lnterests contributed by such party. Operator shall be responsible t`or the preparation and recording of pooling
designations or declarations and communitization agreements as well as the conduct of hearings before governmental agencies for the
securing ot` spacing or pooling orders or any other orders necessary or appropriate to the conduct cf operations hereunder. This shall not
prevent any party from appearing on its own behalf at such hearings Costs incurred by Operator, including fees paid to outside attorneys,

 

which are associated with hearings before governmental agencies, and which costs arc necessary and proper for the activities contemplated
under this agreement, shall be direct charges to thejoint account and Sbafl not be covered by thc administrative overhead charges as provided
in Bxhibit "C.“ Opcrator shall make no charge for services rendered by its staH` attorneys or other personnel in the performance ofthe above
functions.

No well shafl be dti|ied on the Contract Area until uFter (|) the title to the Dri|tsite or Dri|ling Unir, if appropriate, has been
examined as above provide'.l, et-F\-do_r (?.} the title has been approved by the examining attorney or titte has been accepted by all of the Dri|ling
Parties in such wellv.

B. Loss nr Failure of Title:

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_3._Qtlser_l.osses; All losses of Leases or Interests committed to this egreement,_et~hePtl»ran-t-hose---aet- forth_in_rlrt-'tieles
i-\»L…B.-Z._abeve, shall be joint losses and shall be home by all parties in proportion to their interests shown on Exhibit "A." Tbr`s
shall include but not be limited to the loss of any Lease or Interest through failure to develop or because express or implied covenants have

 

not been perfom)cdtother-than'perfo. t. . ,.'l;i h , ,r.‘.‘ o..l th pa,.,.....t ” ,), and the loss ofany Leasc by expiration at the end of
its primary term if it is not renewed or extendedl There shall be no readjustment of interests in the remaining portion of the ConLract Area on
account ofany joint loss.

4. Curing '[`itle. ' In the event ofa Failure of Title-undeF-‘\»Ftiele-HLB-l-. or a loss oftitle-undet=-Article-HL.B.-E. above any Lease or

lnteropt acquired or re- acc uired by any party hereto {etber%hawtb$pasw-ahesemwes&ms-Fened£ewewms$oanng_memneqe(%}day

 

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cost to the drilling panics~panywhose- interest-bas-t`oile€l-er-was-lest, and the provisions ofArticle Vll] B shall not apply to such acquisition
ARTICLE V.
OI’ERA'[`OR

A. Designntion nnd Respnllsibillties of Operntor:

I’rirnera Enertzv LLC shall be the Operator of the Contract Area, and shall conduct and direct
and have full control of all operations on the Contract Arca as permitted and required by, and widtin die limits oftth agreement ln its
performance of services hereunder for the Ncn-Opemtors, Operator shall he an independent contractor not subject to the control or direction
of the Non~OperatorS except as to the type of operation to be undertaken in accordance With the election procedures contained in this
agreement Operator shall not be deemed, or hold itselfout as, the agent ofthe Non-Operators with authority to bind diem to any obligation or
liability assumed or incurred by Operator as to any third party. 0perator shall conduct its activities under this agreement as a reasonably
prudent operator, in r1 good and workmanlike manner, with due diligence and dispatch, in accordance with good oilfield practice, and in
compliance with applicable law and regulation, but in no event shall it have any liability as Opcrator to the other parties for losses sustained or
liabilities incurred except such as may result from gross negligence orwillfut misconduct

l]. Resignation or Reniovat ol`Opcratur and Selection o|'Snccessol':

l_ Resignation or Remova| of Operator: Opcrator may resign at any time by giving written notice thereof to Non-Operators.
lt`Operator terminates its legai existence,-norlongor-ewarran_hrterest_liereunder-in-tbe-Geetraet-A+ee, or is no longer capable of serving as
Operator, Opcrator shall be deemed to have resigned without any action by Non-Operators, except the selection of a successor. Operator may
be removed only for good cause by the ah’irmative vote of Non¢Operators owning a majority interest based on ownership as shown on
Exhibit "A" remaining after excluding the voting interest of Operator', such vote shall not be deemed effective until a written notice has been
delivered to the Operator by a Non-Operator detailing the alleged default and Operator has failed to cure the default within thirty (30) days

from its receipt ofthe notice1 .',iftl, default . ., an y m‘; ,. ;‘ ' ` b f » -* WMHMMHM

nette&For purposes hereof`, "good cause" shall mean riot only gross negligence or willful misconduct but also the material breach of or

 

inability to meet the standards of operation contained in Article `v',A. or material failure or inability to perform its obligations under this

agreement_aller applicable notice a.nd_ opportunity to curc.
Subject to Article VIl.D.l., such resignation or removat shall not become effective until 7:00 o`clocl< A.M. on the first day of the
cNalendar month following the expiration of Mr_ty (JQ)nineiye(»QQJAays after the giving of notice of resignation by Operator or action by the
on-

Operators to remove Operator, unless a successor Operator has been selected and assumes the duties of 0perator at an earlier date. Operator,

after effectivew d e of resignat`on or removal s H|l be bound b the ten'ns hereof as aNon~O erator on| it` o erator owns a w_ g interest
m the e.ls at the bingo ’olh resn__zna,ttony or removal cang|h of a corporate name

structure of Operator or transfer of Opcrator’s interest to any single subsidia:y, parent or successor corporation shall not be thc basis for
removal ofOperator.

 

2. Selecticn of Successor Operator: Upon the resignation cr removal of Operator under any provision of this agreement, a
successor Operator shall be selected by the partiesl The successor Cperator shall be selected from the parties owning an interest in the
Contract Area at the time such successor Operalor is selected. The successor Operator shall be Selected by the affirmative vote of two {2) or
more parties owning a majority interest based on ownership as shown on Exhibit "A"; provided, howeverl if an Operator which has been
removed or is deemed to have resigned fails to vote or votes only to succeed itself, the successor Operator shall be selected by the affirmative
vote ofthe party or parties owning a majority interest based on ownership as shown on Exhibit "A" remaining after excluding the voting
interest of the Operator that was removed or resigned The former Operator shall promptly deliver to the successor Operator all records and
data relating to the operations conducted by the former Operator to the extent such records and data are not already in the possession of the
successor operators Any cost of obtaining or copying the former Operator's records and data shall be charged to thejoint aceount.

31 Effect of Bankruptcy: [t` Operntor becomes insolvent, bankrupt or is placed in receivership, it shall be deemed to have
resigned without any action by Non-Operators, except the selection of a successor, If` a petition f`or reliefunder the federal bankniptcy laws is
filed by or against Operator, and the removal of Operator is prevented by the federal bankruptcy court, all Non-Operators and Operator shall
comprise an interim operating committee to serve until Operator has elected to reject or assume this agreement pursuant to the Bankruptcy
Code, and an election to reject this agreement by Operator as a debtor in possession, or by a tmstee in bankruptcy, shall be deemed a
resignation as Operator without any action by Non~Cpcrators, except the selection of a successorl During the period of time the operating
committee controls operations all actions shall require the approval of two (2) or more parties owning a majority interest based on ownership
as shown on Exhibit "A." ln the event dtere are univ two tZl DartieB 10 this agreement during the neriod ot`h'mo the onemtinu nnmmin.=-p.

 

 

 

 

 

 

 

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hours of labor and the compensation for services performed shall be determined Operator, and all such employees or contractan Shall be the
employees or contradan ofOperator.

    

     

            

 

 

 

 

 

 

  

       

      

 

   

 

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D. Rights and Dutles ofOperntor:

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at e usual rates prevailing 1n the aren. Ifit so desires, Operator ma)i,llt C.enriploy its own tools and equipment in the drilling __o_r_ reworkuigz:s|5 of
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charges therefor shall not exceed the prevailing rates in the area and the rate of such charges shall be agreed upon by the parties in writing
before drilling operations are commenced, and such work shall be performed by Operator under the same terms and conditions as are
customaql and usual in the area in contracts of independent contractors who are doing work of a similar nature. A|l work performed or
materials supplied by affiliates or related parties ot` Operator shall be performed or supplied at competitive rutes, pursuant to written
agreement and in accordance with customs and standards prevailing in the industry

2. Dsi h re oflointAccountObligation F d d 0 crartor haleeen adb the Non 0 erators f`n Jnint A tObl ations
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discharge expenses incurred m the development and operation ot` the Contract Area pursuant to this agreement and shall charge each of
the parties hereto with their respective proportionate shares upon the expense basis provided in E>thibit "C." Operator shall keep an accurate
record ofthejoint account hereunder, chewing expenses incurred and charges and credits made and received.

3. Prctection from~{_ji_e_ns: Provided a-O derator has been paid ig the Non-O ei”at rs for lornt Acoount Ohligal ons Dperator shall
paya e accounts of

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contractors and suppliers and wages and salari:s for services rendered or pcrf`ormed, and t`or materials supplied on, to or in respect of thc
Contract Area or any operations for the joint account thereof and shall keep the Contract Area Free t`rorn liens and encumbrances resulting
therefrom except for those resulting trom a bona tide dispute as to services rendered or materials supplied

4. Custody of Funds'. Operator shall hold for thc account of the Non»Operators any funds ol` the Ncn-Operators advanced
or paid to the Operator, either for the conduct cfoperatioos hereunder or as a result ofthe sale ofproduction from the Contract Area, and such
hinds shall remain the t`unds of the Non-Operators on Whose account they are advanced or paid until used for their intended purpose or
otherwise delivered to the Non-Operators or applied toward the payment ofdebts as provided in Anic|e Vll.B. Nothing in this paragraph shall
be constnred to establish a liduciary relationship between Operator and Non-Opcrators for any purpose other than to account for Non-
Operator t`unds as herein specifically provided. Nothing in this paragraph shall require the maintenance by Operatcr of separate accounts for
the funds ofNon-Operators unless the parties otherwise specifically agree.

5, "A"g”c§s§ to Contract Arca and Records' Operator shall, except as otherwise provided herein, permit each NoneOperator
or its duly authorized representative at the Non-Operator’s sole risk and cost, Full and free access at all reasonable times to all operations of
every kind and character being conducted t`or the joint account on the Contract Area and to thc records ot' operations conducted thereon or
production therefrom, including Operator‘s books and records relating thereto. Such access rights shali not be exercised in a manner
interfering with Operator’s conduct ofan operation hereunder and shall not obligate Operator to hrrnish any geologic cr geophysical data ofa.n
interpretive nature unless the cost of preparation of such interpretive data was charged to thejoint accountl Operator will l`urrtish to each Non-

8 erator that is _n_ot_in default of its a m ut ob_§ig_a"tj@ up<r_ln written reque fslle copies ot" any and alc} reports and ir}forgiation obtained by
literal or connection wit por re ate items,

 

 

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including, without limitation, meter and chan reports, production purchaser statements, run tickets and monthly gauge reports, but excluding
purchase contracts and pricing information to the extent not applicable to the production of the Non-Operator seeking the information Any
audit ofOperator’s records relating to amounts expended and the appropriateness of such expenditures shall be conducted in accordance with
the audit protocoi specified in Exhibit l*C."

6. Filing and Fumishing Governrnental Reportsl Gperator will fr|c, and upon written request promptly furnish copies to
each requesting Non-Operator not in default ofits payment obligations, all operational noticcs, reports or applications required to be filed by
local, State, Iiederal or Indian agencies or authorities having jurisdiction over operations hereunder. Each Non-Operator shall provide to
Operator on a 7time|y basis all information necessary to Operator to make such filings

Dril|ing and_ _Testing Operations: The fotlowing provisions shall apply to each well drilled hereundcr, including but not
limited to the lnitial Well:

(a) 0 erator will promptly advise No ~Gperators artici atin in such o erations and not in det`uult of its a mont ob|i ati ns
of the dante on which line we…gi_spudilgb,_”_…
drilling operations are commenced
re rt t(bg Operatorl wilt send Bm§o Non-qpcrators amici olin 1 in s&ch__gperations and not in default of its c ment obli »at is _such

po s, es reno lees regarding t m operations on t1e _wel|
as the Non-Operators shall reasonably request including, but not limited to, daily drilling reports, completion reports, and well logs

 

(c) Operator shall adequately test all Zones encountered Which may reasonably be expected to be capable of producing Oil
and Gas in paying quantities as a result of examination of the electric log or any other logs or cores or tests conducted hereunder.

8, Cost Estimatos: Upon request ot` any Consenting Party, Operator shall furnish estimates of current and cumulative costs
incurred for die joint account at reasonable intervals during the conduct ci` any operation pursuant to this agreement Operator shall not be
held liable for errors in such estimates so long as the estimates are made in good faith.

9, lnsurance: At all times while operations are conducted hereunder, Operator shall comply with the workers compensation law
ot` the state where the operations are being conducted; provided, however, that Dperator may he a se|f~ insurer for liability under said
compensation iaws in Which event the only charge that shall be made to the joint account shall be as provided in Exhihit "C." Uperator
shall also carry or provide insurance for the benefit ot`the joint account ofthe parties as outlined in Exhibit “D" attached hereto and made a
part hereof. Operaror shall require all contractors engaged in work en or for the Contract Area to comply with the workers compensation
law of the state where the operations are being conducted and to maintain such other insurance as Operator may require.

l.n the event automobile liability insurance is specified in said Exhibit "D," or subsequently receives the approval of the
parties, no direct charge shall be made by Dperator for premiums paid for such insurance for Operator‘s automotive equipment

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DRl LLING AND DEVELUPI\'[ENT

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B. Subsequent Operatinns:

W il l, fr,opgsed Operations: If any party hereto Should desire to drill O_l‘__§g_r__l§tpl§t;amy weil on the Contract Area other than the lnitii?¥
e , or

any party should desire 10 Rewcrl<, Sidetrack, Deopen, Reco!nplete or Plug Baclc a dry hole or c well no longer capable ofproducing in paying
paying quantities in which such party has not otherwise relinquished its interest in the proposed objective Zone under this agreement, the

party desiring to dril|,c milete Rework Sidetrack Deepen, R.ecomplete or Plug Back such a well shall give written notice ot`the proposed
operatio

the parties who have not otherwise relinquished their interest in such objective Zone under this agreement (and to all other parties in the
case of a proposal for Sidetracking or Dcepening as to a Vertical Well), specifying the work to be performed the location proposed depth

objective Zone and the estimated cost ot` the operation as puttined-` in- an. AFE. -A. proposal "for "th`e drilling o`f" or other operations for. a n ry

Horizontal .Well shall: (l) state that.the- proposed operation is a- -Horizontal .Well operation .-'-'(2) include drilling and-Completion plans
specifying 'the:-proposed:'.'(i)i Total 'Measured `Deptb(s),-'.(ii) surface hole loeation(s),'.:(iii) Terminus;(l`ennioi, "(iv)`: Displaccment(s),_
(v):utilization and scheduling of- rig(s) (Spudder`}`<ig,'drilling and-`Cornpletiun],-and [vi) stimulation operations staging land`siz"ing; and (3)
include estimated drilling and Comp|etion costs as set fcrth'in an AFE. The parties to whom such a notice is delivered shall have thirty (31})
days utter receipt ofthe notice within which to notify the party proposing to do the work whether they elect to participate i11 the cost of the
proposed operation lt` a drilling rig is 011 iocation, notice ot` a proposal to Rework, Sidetrack, Rccomptete, Plug Back or Deepen may be
§ive§ays by telephone and the response period shall be limited to ferty»eigl+h{¢l$j§yeng four tZ¢t[hours, exclusive ofSaturday, Sunday and legal

liailure ot` a party to whom such notice is delivered to reply within the period above fixed shall constitute an election by that party not to
participate in the cost of the proposed operation Any proposal by a party to conduct an operation conflicting with the operatioh initially
proposed shall be delivered to atl parties within the time and m the manner provided m Article Vl.B.c.

lf all parties to whom such notice is delivered elect to participate in such a proposed operation, Lhe parties shall bc contractually
committed to participate therein provided such operations are commenced within the time period hereafter set forth, and Operator shal|, no
later than ninety {90) days auer expiration of the notice period of thirty (30) days (or as promptly as practicable alter the expiration of the
afgdty-eighl£¢l$Mjo_ur_(§) hour period when a drilling rig is on |ocation, as the case may be), actually commence the proposed §l%er:a.t§on

complete it with due diligence at the risk and expense ofthe parties participating therein; provided, however, said commencement date may
be extended upon written notice of same by Operator to the other parties, for a period of up to thirty (30) additional days if, in the sole
opinion of Operator, such additional lime is reasonably necessary to obtain permits l`rcrn governmental authoritiesj surface rights (lrtciuding
rights-ot`-way) cr appropriate drilling equipment, or to complete title examination or curative matter required for titie approval or
acceptance if the actual operation has not been commenced within the time provided (including any extension thereof as specificalty
permitted herein or in the force majeure provisions of At‘ticie X]) and if any party hereto stiil desires to conduct said operation, written
notice proposing same must be resubmitted to the other parties in accordance herewith as if no prior proposal had been madc. Those parties
that did not participate in the drilling of a well for which a proposal to Deepen or Sicletrack is made hereunder shall, ifsuch parties desire to
participate in the proposed Deepening or Sidetracl<ing operation, reimburse the Drilling Parties in accordance with Article Vi.B.¢l. in the
event of a Deepening operation and in accordance with Article VI,B.§, in the event ofa Sidet.racking operation
2. ngg_ations by Less Tltan All Partie§;

(a) Detcrmination of Purticipation. l_t` any party to whom such notice is delivered as provided in Article V],B,l, or VI.C.l\
(Dption Nc. 2) elects not to participate in the proposed operaticn, then, in order to be entitled to the benefits oftbis Artiule, the party or
parties giving the notice and such other parties as shall etect to participate in the operation shall, no later than ninety (90) days after the
p)éplirration ofthe notice period of thirty (30) days (or as promptly llaties|_lpjrcipsticable alter the expiration of the terw-eigh-t-{~¢l$)twenty fourth;lnt

a drilling rig is on location, as the case may be} actually commence the proposed operation and complete it with due diligence Operator

 

 

 

 

 

shall perform all work for thc account oi` the Consentiug Parties; provided-however it` no- -dnl-l-ing+ig-er-e-thei- equipment~isren-leeation and
i-f-Qperato ` a N .. "` " l’...t, th ’“ ' P “` hull .ti. .: (1) = , .t “‘p .... 1 tv pc.fe. "* .l . ,..]i d“ u_, such
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\v<-rthe-thta-and-dutiesegranted-te-and-imposed" -u‘," 1 th "‘p ....\ 1 " ' tl“' ab. ... ... arc gtth .l h c..d l r " ap . ~the~pai=t=y
u ‘ 1 1.. '“‘,, " .. , .at. 1. nl.` lt the \ gi wl "`,, i_, a t" " . .11}..,, Pi.it,4 Consenling Parties, when conducting

 

operations on the Contract Area pursuant to this Article VI,B.Z`, shall comply with all terms and conditions ofthis agreement
If less than all parties approve any proposed operation, die proposing party, immediately after the expiration of` the applicable
notice period shall advise all Parties of the total interest of the parties approving such operation and its recommendation as to whether the

gon.fenting Parties should proceed with the operation as proposed Each Consenting Party, within §eny-eight_{¢lS-) tweng four 241 hours
exc usive

Saturday, Surtday, and legal holidays) alter delivery of such notice, shall advise the proposing party ofits desire to (1'} limit participation to
such pa.rty‘s interest as shown on E.xhibit "A" or (ii} carry only its proportionate part (determined by dividing such party‘s interest in the
Contract Area by the interests oi` ali Consenting Parties in the Contract Areo] of l'\lon~Consenting Parties' intercsts, or (iii) cany its
proportionate part (determined as provided in (ii]) ot` Non~Consenting Parties' interests together with all or a portion of its proportionate
part of any Non-Consenting Parties' interests that any Consenting Party did not elect to take Any interest of Non-Consenting Parties that is
:g§ carried by a Consenting Party shall be deemed to be carried batltigl:{#§rvtry proposing the operation__( other than operator) if such party doieti:

proposal Faiiure to advise the proposing party within the time required shall be deemed an etection under (i). ln the event a drilling rig is
pnu |ocation, notice may be given by telephonc[ 2ap]d the time permitted for such a response shall not exceed a total of fertyeighl{¢ll?')t wengs'

 

texclusive of Saturday, Sunday and legal holidays) 'lhe proposing party, at its election, may withdraw such proposal if there is less than
lUO% participation and shalt notify ail parties ol` such decision within ten (lt]) daysl or within twenty-four (24] hours it`a drilling rig is on
|ocation, following expiration of the applicable response period. lt` |t`lD“n subscription to the proposed operation is obtained, the proposing
party shall promptly notify the Conscnting Parties ot` their proportionate interests irl the operation and the party serving as Operator shall

 

 

 

 

 

 

 

 

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that those Non Consenting Parties that participated in the drilling, Deepening or Sidetraclring ofthc well shall remain liable lott and shall
pay, their proportionate Shares of the cost of plugging and abandoning the well and restoring the surface location insofar only as those costs
were not increased by the subsequent operations of the Consenting Parties. l.t` any well drilled, Reworked, Sldetracked, Deepened,
Recompletcd or Plugged Hack under the provisions of this Article results in a well eapahle ot` producing Oi] and/or Gas in paying

 

 

 

 

 

 

 

 

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quantities, the Consenting Parties shall Compiete and equip the well to produce at their sole cost and risk,-anel-the-well-shal»l-tlien~he+amed
w t ’ p el . titth ny ..‘. "" ' d ‘ th ,. ' " land shall be operated berLercto_rit-at the expense and for the account ofthe

 

Consenting Parties Upon commencement of operations for the drilling, Reworking, Sidetraclcing, Recompleting, Deepening or Plugging
Beck of any such well by Consenting Parties in accordance with the provisions of` this Arlicle, each Nou-Consenting Purty shall be deemed
to have relinquished to Consenting Partics, and the Consenling Parties shall own and be entitled to receivc, in proportion to their respective
interests, all of such Non-Consenting Party‘s interest irt the well and share of production therefrom or, in the case of` a Rewori<ing,
Sidetracking, Deepening, R.ecompleting or Plugging Back, or a Completion pursuant to Articlc Vl.C.l. Option No. 2, all of such Non-
Consenting Party’$ interest in thc production obtained from the operation in which the Non-Consenting Party did not elect to participate
Such relinquishment shall be effective until thc proceeds of I.he sale of such share, calculated at the weli, or market value thereof if such
share is not sold (atter deducting applicable ad valorem, production, severance, and excise taxes, royalty, overriding royalty and other
interests not excepted by Article l]lC, payable cut of or measured by the production h'on'i such welt accruing with respect to such interest
until it roverts), shall equal the total ofthe following:

<i)

wellhead connections (mciuding but not limited to stock tanksJ separators, treatcrs, pumping equipment and pipiug}, plus lUU% of each

 

 

0 % of each such Non»Consenting Party‘s share of the cost of any newly acquired surface equipment beyond thc

such Non-Consenting Party's share of the cost cf operation of the well commencing with Hrst production and continuing untii each such
Non~Consenting Party's relinquished interest shall revert to it under other provisions of this A.rticle, it being agreed that each Non-
Consenting Party‘s share of such costs and equipment will he that interest which wouid have been chargeable to such Non»Consentiug Party
had it participated in the well t`rom the beginning oftho operations; and
(ii) Mh_____ % of` (a) that portion of the costs and expenses of drilling, Reworl<ing, Sidetracl<ing, Deepening, Flugging

Back, testing, Completing, and Recompleting, alter deducting any cash contributions received under Article ViII.C., and of {b) that portion
of the cost of newly acquired equipment in the well (to and including the wellhead connections}, which would have been chargeable to such
Non-Consenting Party ifit had participated therein

Notwitlistanding anything to the contrary in diis Artlcle VI.B., if the well does not reach the deepest objective Zone described in
the notice proposing the well for reasons other than the encountering oi` granite or practically impenetrable substance or other condition in
the hole rendering further operations impracticable Operator shall give notice thereof to each Non-Consenting Party who submitted or
voted for an altcn\ative proposal under Article Vl.B.E). to drill the well to a Shallower Zorie than the deepest objective Zone proposed in the
notice under which the well was drilled, and each such Non-Consenting Party shall have the option to participate in the initial proposed
Compietion of die well by paying its share of the cost of drilling the we!l to irs actual depdi, calculated in the manner provided in li“trticle
VI.B,4, (a), lt` any such Non'Consenting Faity does not elect to participate in the first Completion proposed l`or such well, the
relinquishment provisions of this Artiele VI.B.Z, (b) shall apply to such party's interest.

(e) B__e\_)vorlcingl Recornpieting oLPlugging Back‘ An election not to participate in the drilling, Sicletracking or Deepening oi`a
weil shatl be deemed an election not to participate in any Reworking or Plugging Bnck operation proposed in such a well, or portion
thereol', to which the initial non-consent election applied that is conducted at any time prior to full recovery by the Consenting Parties ot`the
Non»Consenting Porty's recoupment amount Similarly, an election not to participate in the Compieting or Recompleting of a well shall be
deemed an election not to participate in any Reworking operation proposed in such a wel|, or portion thereof, to which the initial ncn-
consent election applied that is conducted at any time prior to full recovery by the Consenting Parties of the Non-Consenling Parry‘s
recoupment amount. Any such Reworking, Recompleting or Flugging Back operation conducted during the recoupment period shall be
deemed part of the cost ofoperetion ot`said well and there shall be added to the sums to be recouped by the Conseuting Parties 400___%
of that portion of the costs of the Reworking, Recompleting or Plugging Back operation which would have been chargeabte to such Non-
Consenling Party had it participated therein. If such a Reworking, Recompleting or Flugging Back operation is proposed during such
recoupment period, the provisions ofthis Article VI.B, shall be applicaon as between said Conseriting Parties in said well.

(d) Recoupment Matters During the period of time Consenting Parties are entitled to receive Nori-Consenting Party's share of
production, or the proceeds therefrom, Consent.ing Parties shall |)e responsible for the payment of ali ad valorem1 production, severanoe,
excise, gathering and other taxes, and all royalty, overriding royalty and other burdens applicable to Noanoriscnting Party's share ot`
production not excepted by Article lII.Ci

ln the case of any Reworking, Sidetracking, Plugging Baclc, Reeompleting or Deepening operation, the Conseriting Parties shall
be permitted to use, free of cost, all casing, tubing and other equipment in the well, but the ownership of all such equipment shall remain
unchanged; and upon abandonment of a well adler such Reworking, Sidetraeking, Plugging Back, Recompleting or Deepening, thc
Consenting Parties shall account for all such equipment to the owners thereof`, with each party receiving its proportionate part in kind or in
value, less cost ofselvege. l

Wit|iin ninety (90) days after die completion of any operation under this Articlc, the party conducting the operations for die
Consenting Parties shall furnish each Non~Conscntiiig Party with an inventory of the equipment in and connected to the well, and an
itemized statement of the cost of` drilling Sidetracking, Deepeoing, l"lugging Back, testing Completing, Recompleting, and equipping the
well for produciion; or, at its option, the operating party, in lieu of` an itemized statement of such costs of operation, may submit a detailed
statement of monthly bitlings. Each month thereafter, during the time the Censenting Parties are being reimbursed as provided above, the
party Conduotlng the operations l`Dr the Consenting Parties Shail t`urnish the Non-Consenting Parties witl\ an itemized statement oti` all costs
end liabilities incurred in the operation of the well, together with a statement of the quantity of Oil and Gas produced from it and the
amount of proceeds realized f`rorn the sale of the well's working interest production during the preceding month. ln determining the quantity
oi' Oil and Gas produced during any month, Consenting Parties shall use industry accepted methods such as but not limited to metering or
periodic well tests. Any amount realized horn the sale or odier disposition of equipment newly acquired in comiection with any such
operation which would have been owned by a Ncn-Consenting Party had it participated therein shall be credited against the total unretumed
costs of` the work done and oftlie equipment purchased in determining when the interest of` such Non-Consenting Party shall revert to it as
above provided; and ifthcre is a credit halsnee, ir shall be paid to such Non-Consenting Party.

i_t`and when the Consenting Parties recover from a Non-Consenting Party's relinquished interest the amounts provided for above,
the relinquished interests of such Non-Censenting Party shall automaticafly revert to it as of 7:00 a.m. on the day following the day on
which such recoupment occurs, and, from and alter such reversion, such Non-Consenting Pa.rt-y shall own the same interest in such well, the

     

     

   

 

 

 

   

   

 

   

     

 

     

 

   

 

   

 

 
     

     

 

 

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Article VI,F,, stand-by costs incurred pending response 10 a party’s notice proposing a Reworking, Sidetracking, Deepening, Rccompleting,
Pingging Back or Completing operation in such a well (including the period required under Articlc Vl.B.&. to resolve competing proposals)
shall be charged and horne as part of the drilling or Deepening operation just completed Sta.nd-hy costs subsequent to all parties
responding, or expiration of the response time permitted, whichever first occurs, and prior to agreement as to the participating interests of
all Consenting Parties pursuant to the terms ol` the second grammatical paragraph of Article VI,B.Z, {a), Sball be charged to and borne as
part ot` the proposed operation, but if the proposal is subsequently withdrawn because ol` insufficient participation, such stand-by costs shall
be allocated between the Consenting Parties in the proportion each Consenting Party's interest as shown on E)chibit "A" bears to the total
interest as shown on Exhibit "A" of all Consenting Parties,

In die event that notice for a Sidetracking operation is given while the drilling rig to be utilized is on location, any party
may request and receive up to live {5) additional days a.l`ter expiration of the forty-eight hour response period specified in Articlc VI.B.l-.
within Which to respond by paying for all stand-by costs and other costs incurred during such extended response period; Operator may require
such party to pay the estimated stand-by time in advance as a condition to extending the response period. It` more than one party elects to take
such additional time to respond to the notice, standby costs shall be allocated between the parties taking additional time to respond on a clay
to~day basis in the proportion each electing party's interest as shown on Exhibit "A“ bears to the total interest as shown on Exhibit "A" of all
the electing parties.

4. Deegening; lf less than all parties elect to participate in a drilling, Sidetracking, or Deepening operation proposed
pursuant to Article VI.B.l., the interest relinquished by the Non-Consenting Parties to the Consenting Parties under Article M¥-l-l?-Z
shall re ate

only and be limited to the lesser of (i] the total depth actually drilled or (ii) the objective depth or Zone ol`which the pa.rlies were given notice
under Article VI.B‘I. ("lnitial Objective"). Sucli well shall not be Deepened beyond the Initial Ohjective without first complying with this
Anicle 10 afford the Nen~Consenting Parties the opportunity to participate in the Deepening operation

ln the event any Censenting Party desires to drill or Deepen a Non-Consent Well to a depth below the Initial Objective,
such party shall give notice thereof, complying with thc requirements of Artic]e VI.B.I., to all parties (including Non-Consenting Parties).
;,ll']hereupcnz Articles Vl‘B. l. and X_Ylgz, shall apply and all parties receiving such notice shall have the right to participate or not participa]t§

Dcepenlng of such well pursuant to said Articles VI,B.I‘ and 2. lfa Doepening operation is approved pursuant to such provisions, and ifany
Ncn-Consenting Party elects to participate in the Deepening operation, such Non-Consenting party shall pay or make reimbursement (as the
case may be) ol` the following costs and expenses

(a) If the proposal to Deepen is made prior to the Completion of such well as a well capable of producing in paying
quantities, such Non-Consenting Party shall pay {or reimburse Consenting Parties fcr, as the case may he) that share ol` Costs and expenses
incurred in connection with the drilling of said well from the surface to the Initial Objective which Non-Consenting Party would have paid
had such Non-Consenting Party agreed to participate therein, plus the Non-Consenting Party's share of the cost of Dccpening and ot`
participating in any further operations on the well in accordance with the other provisions ol` this Agroement; provided, however, all costs for
testing and Completion or attempted Complelion of the Well incurred by Consenting Parties prior to the point of actual operations to Deepen
beyond the Initial Objective shall be for the sole account ofConsenttng Parties

(b) If the proposal is made for a Noh-Consent Well dial has been previously Completed as a well capable of producing
in paying quantities but is no longer capable of producing in paying quantities, such Non-Consenting Party shall pay (or reimburse
Consenting Parties for, as the ease may be) iLs proportionate share of all costs of drilling, Completing, and equipping said well from the
surface to thc Initial Objective, calculated in the manner provided in paragraph (a) above, less those costs recouped by the Consenting Parties
from the sale ot` production from the well. The Non-Consenting Party shall also pay its proportionate share of all costs of rci-entering said well.
The Non-Consenting Partics' proportionate part (based on the percentage of such well Non-Consenting Party would have owned had it
previously participated in such Ncm-Consent Well) of the costs ofsalvable materials and equipment remaining in the hole and salval)le surface
equipment used in connection with such well shall be determined in accordance with E)thibit "C." lf the Consenting Parties have recouped the
cost of drilling, Completing, and equipping the well at the time such Deepening operation is conducted, then a Non-Consenting Part'y may
participate in the Deepening ofthe well with no payment for costs incurred prior to re~cntering the well for Deepcning

The foregoing shall not imply a right of any Consenting Party to propose any Deepening t`or a Non~Ccnsent Well prior
to the drilling of such well to its Initial Ohjeelive without the consent ol' the other Consenting Parties as provided in Article VI.F.

This Artlcle Vl.B.¢l shall not apply to Deepening operations within an existing Lateral of`a Horizontal Well‘

5. Sidetraclcing: Any party having the right to participate in a proposed Sidetracking operation that does not own an
interest in the affected wellbore at the time of the notice shall, upon electing to participate, tender to the wellbore owners its proportionate
share (equal to its interest in the Sidetracking operaticn) ofthe value ot`that portion ofthe existing wel|bore to be utilized ss follows:

(a) l_f the proposal is for Sidetraclcing an existing dry hole, reimbursement shall be on the basis ol` the actual costs
incurred in the initial drilling ofthe well down to thc depth at which the Sidetracking operation is initiated

(b) ]F the proposal is for Sidetracl<ing a well which has previously produced, reimbursement shall be on the basis ol'
such party‘s proportionate share of drilling and equipping costs incurred in the initial drilling of the well down to the depth at which the
Sidetracking operation is conducted calculated in the manner described in Attic|e Vl.B,4(b) above Such party’s proportionate share of the
cost cf the well's salvable materials and equipment down to the depth al which the Sidetracking operation is initiated shall be determined in
accordance with the provisions ofEXhlbit "C. "

This Artic]e VI.B.S, “Sidetraclting,“ shall not apply to operations in an existing l_aleral ot`a Horizontal Well.

6. Order of Pref`er§nce of Operations Except as otherwise specifically provided in this agreement, it" any party desires to propose
the conduct ofan operation that conflicts with a proposal that has been made by a party under this Article VI, such party shall have Hl`teen
(lS) days from delivery ot" the initial proposal, in the case ot`a proposal to drill awell or to perform an operation on awell where no drilling
rig is on location, or twenty-four (24) hours, exclusive of Saturday, Sunday and legal holidays, from delivery of the initial propossl, if a
drilling rig is on location for the well on which such operation is to he conducted, to deliver to all parties entitled to participate in the proposed
operation such pa.rty‘s alternative proposal, such alternate proposal to contain the same information required to be included in the initial
proposal Each party receiving such proposals shall elect by delivery of notice to Operator within live (5) days after expiration of the proposal
period, or within twenty-four (24) hours {exclusive of Saturday, Sunday and legal holidays) if a drilling rig is on location for the well that is

 

 

   

         

 

   

 

   

 

 

   

 

   

 

 

 

 

     

    

 

 

 

 

       

    

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shall be deemed an election not to participate in the prevailing proposal,

'.'. Copt`grmity to Spacing Pattern NOlwithstanding the provisions of this Article Vl.BiZ., it is agreed that no wells shall be
proposed to he drilled to or Comp|eted in or produced from a Zone from which a well located elsewhere on the Contract Area is producing
pung§pi%§txch well conforms to the then-existing well spacing pattern for such ZoneMgulaMMmt row

8. Paying Wellsi No party shall conduct any Reworking, Deepening, Plugging Back, Complctr`on, Recolnpletion, or Sidetrackjng
operation under this agreement with respect to any well then capable of producing in paying quantities except with the consent of` all parties
that have not relinquished interests in the well at the time ofsuch operation

9. S[gudder Rigs.

(a) Within Approved_§orizonm} Well proposals l.".c plgposals which include an apprgved AFE}. if an approved Horizon|al
Well proposal provides that a Spudder Rig Shall be utilized, and Operator desires 10 extend the proposed Horizontal Rig Move-On Period,
Operotor may obtain one Or more extensions, each for a period oftime not to exceed days only upon notice and the afl`tm'tative vote
ol`not' less than W % in interest of the Consenting Parties to the drilling ot`the proposed well.

(b) Not Widtin Approved Horizontal Wc]l proposals lfan approved Horizonta| Well proposal does not provide that a Spurlder
R.ig may be utilized, and Operator subsequently desires to utilize a Spudder Rig, Opemtor may utilize a Spudder Rig upon notice tc the
Drr`lling Parties (which notice shall include a Horizontal Rig Move-Dn Period) and the aPtinnati\/e vote ol`not less than % in
interest of` the Consenting Parties Extension(s] ofthe Horizontal Rig Movc-Dn Period may be requested by Operator in the same manner as
provided in Articte VI.B.9.(a} immediately above.

(c) Faihtre to meet Hor_izg_“ ntal Rig Movc~On Period, lf`a rig capable of drilling a Horizont:i| We|l to its Tora] Measured Depth
has not commenced operations within the Horizorlta| Rig MoveOn Period, cr any approved extension(s) thereof, unless % in
interest of the Conseuting Parties agree to abandon the operation, Operator shall re-propose the well in the manner provided in Article VI.B
of' this agreement Any party who was a Non-Consenting Party to the original drilling proposal shall be entitled to a new election, Costs ot`
the operation, incurred both before and after such re-proposal, shai| be borne as follows:

(l) Operator shall promptly reimburse ail unused funds previously advanced for the drilling of the well to each party who
advanced such unused funds;

(2) ll the wel|’s drilling operations are subsequently resumcd, all costs, whether incurred before or alter the re-proposal,
shall be borne by the Consenting Parties to the re-proposed well; and, the Consonting Panies shall proportionately reimburse each partyi
who consented to the original proposal but did not consent to the ria-proposal such party’s share of costs incurred prior to the re-proposat.

[3) ll` the well’s drilling operations are not subsequently resumed pursuant to a re-proposa.l as herein providcd, all costs
incurred prior to the re-proposal, and all costs of abandonment, shall ‘oe home and paid by the original Conscnting Parties.

 

(d) Ccmn_‘t_encement of Opcrations, For purposes of Article VI.B,, and subject to the provisions ofthis sub-section 9, the date a
Spudder Rig commences actual drilling operations shall be considered the commencement ol'drilling operations of the proposed well.
lO. Multi-well Pa_d_s, lf multiple i-[orizontal Wells are drilled or proposed to he drilled from a single pad or location, the costs of
such pad or location shall be allocated, and/cr reallocated as necessary, to the Consenting Parties ol`each of the wells thereon.
C. Coruplefion ol`Wells; Reworlting and Pluggillg Brtck:
l. Completion; Without the consent of all parties, no well shall he drilled, Deepened or Sidctraclced, except any well drilled,
Deepcned cr Side|rackcd pursuant to the provisions ot` Article Vl.B.Z. of this agreement Consent to the drilling, Deepening or Sidetracking
shall include:
l:l Option No. ]: All necessary expenditures for the drilling, Deepening or Sidetracking, testing, Completion and equipping
ofthe Well, including tankage andfor surface facilities
fl:lOption No 2‘ All necessary expenditures for the drilling, Deepening or Sidetraclcing and testing ot" a 'v'ertical We|l,
When such well has reached its authorized depth, and all logs, cores and odter tests have been completed, and the results
thereof furnished to the parties, Operator shall give immediate notice to the Non-Operators having the right to participate
in a Completion attempt whether or not Operator recommends attempting to Ccmplete the we|l, together with ()peratoi‘s
At’~`E for Completion costs if not previously provided The parties receiving such notice shall have forty-eight (48) hours
[exc]usive ot" Saturday, Sunday and legal holidays) in which to elect by delivery of notice to Operator to participate in a
recommended Completion attempt or to make a Completion proposal with an accompanying AFE, Operator shatl deliver
any such Completion proposal, or any Completion proposal conflicting with Operator‘s proposal, to the other parties
entitled to participate in such Comp|etion in accordance with the procedures specified in Article V].B.G, Election to
participate in a Completion attempt shall include consent to all necessary expenditures for the Completing and equipping
ol` such wel|, including necessary tankagc and/or surFace facilities but excluding any stimulation operation not contained
on the Completion AFE. qu'lure ot` any party receiving such notice to reply within the period above fixed shall constitute
an election by that party ppt to participate in the cost of the Comp|etion attempt; provided, that Article VI.B.6. shall
control in the case ol` conflicting Completion proposals It` one or more, but less than all of the parties, elect to attempt a
-Completion, the provisions of Article VI.B.Z. hereof (the phrase "Reworking, Sidetracking, Deepening, Recornpleting or
P|ugging Back" as contained in Article V].B.Z. shall be deemed to include l‘Completing") shall apply to the operations
thereafter conducted by tess than all parties; provided, however, that Articie VI`B.Z, shall appiy separately to each
separate Completion cr Recompletion attempt undertaken hereundcr, and an election to become a Non-Consenting Party
as to one Completion or Recornpletion attempt shall not prevent a party from becoming a Consenting Pa.rty in subsequent
Completion or Recompletion attempts regardless whether the Consenting Parties as to earlier Completions or
Recompletions have recouped their costs pursuant to Article Vl.B.Z.; provided further, that any recoupment of costs by a
Consenting Party shali be made solely from the production attributable to the Zonc in which the Completion attempt is
made E|ection by a previous Non-Consenting party to participate in a subsequent Completion or Recomptetion attempt
shall require such party to pay its proportionate share ofthe cost of saiva't)le materials and equipment installed in the well
pursuant to the previous Completion or Recompletion attempt, insofar and only insofar as such materials and equipment
benefit the Zone in which such party participates in a Completion attempt

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D. Olher Operulions:

Operator shall not undertake any single project reasonably estimated to require an expenditure in excess of _m
Twcutv Five Dollars ($ 25 000 l except in connection with the drilling, Sidetracking,, Reworkjng, Deepening,
Completihg, Recornpleting or Plugging Back of a well that has been previously authorized by or pursuant to this agreement; provided,
however, that, in case of explosion, tire, flood or other sudden emergency, whether of the same or different nature, Operator may take such
steps and incur such expenses as in its opinion are required to deal with the emergency to safeguard life and property but Operator, as
promptly as possible, shall report the emergency to the other parties It` Operator prepares an Ali[". l`ol' its own use, Operator shall furnish
any Non-Operator so requesting an information copy Lhereoffor any single project costing in excess of__jl:\veng{ Five Thousand w
Dolla.rs ($ 25,000 . Any party who has not relinquished its interest in
a well shall have the right to propose that Operator perform repair work or undertake the installation of artificial lift equipment or ancillary

 

production facilities such as salt water disposal wells or to conduct additional work wilh respect to a well drilled hereunder or other similar
project (but not including the installation ot` gathering lines or other transportation or marketing facilities, the installation of which shall be
governed by separate agreement between the parties) reasonably estimated to require an expenditure in excess of the amount first set forth
above in this Artiele VI.D. (except in connection with an operation required to be proposed under Artieles Vl.B.l. or Vl.C.l, Option Nor 2,
which shall be governed exclusively be those Articles). Operator shall deliver such proposal to all parties entitled to participate therein It`
within thirty (30) days thereof Operator secures the written consent ol` any party or parties owning at least 70 % of the interests
of the parties entitled 10 participate in such operation, each party having the right to participate in such project shall be bound by the terms
of such proposal and shall be obligated to pay its proportionate share of the costs of the proposed project as it` it had consented to such
project pursuant to the terms of the proposal

E. Abandonment ofWe]ls:

l. Abandonment of Dg Holes: Except for any well drilled or l)eepened pursuant to Article VI`B£., any well which has been
drilled or Deepcned under the terms of this agreement and is proposed to be completed as a dry hole shall not be plugged and abandoned
without the consent of all parties. Shoulcl Operutor, nder diligent efl`ort, be Unable to contact any party, or should any party fail to reply Within
forty-eight (48) hours (exclusive of Saturday, Sunday and legal holidays) after delivery of` notice of the proposal to plug and abandon such
well, such party shall be deemed to have consented to the proposed abandonment All such wells shall be plugged and abandoned in
accordance with applicable regulations and at the cost, risk and expense of the parties who participated in the cost ot` drilling or Deepening
such we|l, Any party who objects to plugging and abandoning such well by notice delivered to Opcrator within forty-eight (48} hours
(exclusive of Saturday, Sunday and legal holidays) after delivery of notice of the proposed plugging shall take over the Well as ofthe end of
such foi1y-eight{48) hour notice period and conduct further operations in search of Oil and/or Gas subject to the provisions of Article Vl,B.;
failure of such party to provide proof reasonably satisfactory to Operator of its financial Capability to conduct such operations or to take over
the well within such period or Lhereaher to conduct operations on such well or plug and abandon such well shall entitle Operator to retain or
take possession of the well and plug and abandon the weil The party taking over the well shall indemnify Operator [it` Operator is a.u
abandoning party] and the other abandoning parties against liability for any further operations conducted on such well except for the costs of
plugging and abandoning the well and restoring the surface, forwhieh the abandoning parties shall remain proportionater liable

2‘ Abandonrnent of Wel|s T|rat Hav§ Producedf Exeept for any well in which a Non-Consent operation has been
conducted hereunder for which the Consenting Parties have not been fully reimbursed as herein provided, any well which has been completed

as a producer shall not he plugged and abandoned without the consent of ll parties owning an__interesi in s ch we|l. li` all parties consent t
such abandonment, dire we Shall

be plugged and abandoned in accordance with applicable regulations and at the cost, risk and expense of all die parties hereto. Failure of a
party to reply within sixty (60) days of delivery of notice of proposed abandonment shall be deemed an election to consent to the proposal If,
within sixty (60) days after delivery of` notice of the proposed abandonment of any well, all parties do not agree to the abandonment of such
well, those wishing to continue its operation from the Zone then open to production shall be obligated to take over the well as ofthe expiration
of the applicable notice period and shall indemnify Operator (if Operator is an abandoning party] and the other abandoning parties against
liability for any further operations on the well conducted by such parties I"ailure of such party or parties to provide proof reasonably
satisfactory to Operator oftheir financial capability to conduct such operations or to take over the well within the required period or thereafter
to conduct operations on such well shall entitle operator to retain Or take possession ofsuch well and plug and abandon the Well.

Parties taking over a well as provided herein shall tender to each of the other parties its proportionate share of the value ot`
the well's salvable material and equipment determined in accordance with the provisions ot' Exhibit "C," less the estimated cost of salvaging
and the estimated cost of plugging and abandoning and restoring the surfaec', provided, however, that in the event the estimated plugging and
abandoning and surface restoration costs and the estimated cost of salvaging are higher than die value of the well's salvable material and
equipment, each of the abandoning parties shall tender to the parties continuing operations their proportionate shares of` the estimated excess
cost. Eaclr abandoning party shall assign to the non~abandoning palties, without warranty, express or implied, as to title or as to quantity, or
fitness l`or use ot`the equipment and materia|, all ol`its interest in the wellbore ot` the well and related equipment, together with its interest in
the Leasehold insofar and only insofar as such leasehold covers the right to obtain production from that wellbore in the Zone then open to
production lt` the interest of the abandoning party is or includes and Oil and Gas Interest, such party shall execute and deliver to the non-
abandoning party or parties an oil and gas lease, limited to the wellbore and the Zone then open to production, for a term of one (]) year and
so long thereafter as Oi| and/or Gas is produced front the Zone covered thereby, such lease to bc on the l`omi attached as Exhibit “B." The
assignments cr leases so limited shall encompass the Drilling Unit upon which the well is located The payments by, and the assignments or
leases to, the assignees shall be in a ratio based upon the relationship oftheir respective percentage of participation in the Contract Area to the
aggregate of the percentages of participation in the Contract Area of all assignees There shall be no readjustment of interests in the remaining
portions of the Contract Area.

'I`hcreat`ter, abandoning parties shall have no further responsibility, llabiliry, or interest in the operation of or production
t"rom the well in the Zonc then open other than the royalties retained in any lease made under the terms ofthis Artiele. Upon request, Operator
shall continue to operate the assigned well for the account ol` the non»abandoning parties at the rates and charges contemplated by this
agreemeut, plus any additional cost and charges which may arise as the result of the separate ownership of the assigned well Upon proposed
abandonment ot" the producing Zoue assigned or leased, the assignor or lessor shall then have the option to repurchase its prior interest in the
Well losing the same valuation fonnulal and nartieinate in t`nrlher nneratinn= therein =uhipr-.i in the nmviqinw: hara,\¢‘

     

 

 

 

 

    

     

 

   

 

   
     

 

 

     

   

 

      

   
      

 

 

   

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F. Terminatiun ot`()perntiuns:
Upon the commencement of an operation for the drilling, Reworking, Sidetracking, Plugging Back, Deepening, testing,

 

Completion or plugging of a well, including but not limited to the Initial Well, such operation shall not be terminated without consent cf

 

parties bearing 79 % of the costs of such operation‘, provided, however, that in the event granite or other practically impenetrable
substance or condition in the hole is encountered which renders further operations impractical, Operator may discontinue operations and
give notice of such condition in the manner provided in Article VLB.l, and the provisions of Artiole Vl.B. or VI.E` shall thereafter apply to

 

such operation, as appropriate
G. Tatting Protluct`con in Kiud'.
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Each party shall take in kind or separately dispose oi` its proportionate share of all Oil and Ga$ produced from the Contract Area,
exclusive of production which may be used in development and producing operations and in preparing and treating Oi| and Gas for
marketing purposes and production unavoidably lost. Any extra expenditure incurred in the taking in kind or separate disposition
by any party of its proportionate share oi`the production shall be borne by such party. Any party taking its share of production in
kind shall be required to pay for only its proportionate share of such part of Operator‘s surface facilities which it uses

Each party shall execute such division orders and contracts as may be necessary for the sale of its interest in production from the
Contract Arca, and, except as provided in Artic]e VllB‘, shall he entitled to receive payment directly from the purchaser thereof
t`or its share of all production.

ll` any party t`ai|s to make the arrangements necessary to take in l<ind or separately dispose of its proportionate share ot` the Oil
produced from the Contract Area, Operator shall have die right, subject to the revocation at will by the party owningl it, but not the
obligation, to purchase such Oil or sell it to others at any time and from time to time, for the account of the non-taking pany. Any
such purchase or sale by Operator may be terminated by Operator upon at least ten (10} days written notice to the owner of said
production and shall be subject always to the right of thc owner of the production upon at least ten (l(l) days written notice to
Operator to exercise ar any time its right to take in kind, or separately dispose of, its share of all Oil not previously delivered to a
purchaser. Any purchase or sale by Operator of` any other party's share of Oi| shall be only for such reasonable periods oftime as
are consistent with die minimum needs of the industry under the particular circumstances but in no event for a period in excess of
one (l) year.

Any such sale by Operator shall be in a manner commercially reasonable under the circumstances but Operator shall have no
duty to share any existing market or to obtain a price equal to that received under any existing market The sale or delivery by
Operator of a non-taking party's share of` Oil under the terms of any existing contract of Operator shall nut give the non»taking
party any interest in Ol' make the non-taking party a party to said contract No purchase shall be made by Operator without first
giving the non~talcing party at least ten (lO} days written notice ot" such intended purchase and the price to be paid or the pricing
basis to be used.

All parties shall give timely written notice to Operator of their Gas marketing arrangements for the following month, excluding
price, and shall notify Operator immediately in the event of a change in such arrangements Operator shall maintain records of all
marketing arrangements and ot` volumes actually sold or transported, which records shall be made available to Ncn-Opera|ors upon
reasonable request

In the event one or more parties' separate disposition of its share of` the Gas causes split-stream deliveries to separate pipelines
and/or deliveries which on a day-to-day basis for any reason are not exactly equal to a party's respective proportion- ate share of
total Gas sales to be allocated to it, the balancing or accounting between the parties shall be in accordance with any Gas balancing
agreement between the parties hereto, whether such an agreement is attached as Exhibit "]i“ or is a separate agreement Operator
shall give notice to all parties ofthe first sales ofGas from any well under this agreement

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Each party shall take in kind or separately dispose cf` its proportionate share of all Oil and Gas produced from the Contract Area,
exclusive of production which may be used in development and producing operations and in preparing and treating Oil and Gas for
marketing purposes and production unavoidably lost. Any extra expenditures incurred in the taking in kind or separate disposition
by any party of its proportionate share of the production shall be borne by such party Any party taking its share ot` production in
kind shall be required to pay for only its proportionate share ofsuch part of Operator's surface facilities which it uses.

Each party shall execute such division orders and contracts as may be necessary for the Sale of its interest iri production From the
Contract Area, and, except as provided in Article V[LB‘, shall be entitled to receive payment directly from the purchaser thereof
for its share ofall production

If` any party fails to make the arrangements necessary to take in kind or separately dispose of its proportionate share of the Oil
and/or Gas produced from the Contract Area, Operalor shall have the righ; subject to the revocation at will by the party owning it,
but not the obligation, to purchase such Oil and/or Gas or sell it to others at any time and from time to time, for the account ofthe
non-taking party. Any such purchase or sale by Operator may be terminated by Operator upon at least ten (lU) days written notice
to the owner of said production and shall be subject always to the right of the owner cf the production upon at least ten (lO) days
written notice to Operator to exercise its right to take in kind, or separately dispose of`, its share of all Oil and.»'or Gas net previously
delivered to a purchaser; provided, however, that the effective date of` any such revocation may be deferred at Opera|or‘s election
for a period not to exceed ninety (90) days if Operator has committed such production to a purchase contract having a term
extending beyond such ten (lD] -day period Any purchase or sale by Operalor of any other party's share ol' Oil andr'or Gas shall be
only for such reasonable periods of time as are consistent with the minimum needs of the industry under the particular
circumstances but in no event for a period in excess ofone (l)year,

Any such sale by Operator shall be in a manner commercially reasonable under the circumstances but Operaror shall have no
duty to share any existing market or transportation arrangement or to obtain a price or transportation fee equal to that received
under any existing market or transportation arrangement The sale or delivery by Operator of a iron-taking party's share of
production under the terms of any existing contract of Gperator shall not give the non-taking party any interest in or make the non-
taking party a party to said contract No purchase of Oil and Gas and no sale of Gas shall be made by Opcrator without first giving

   

   

   

 

     

     

 

 

 

 

 

 

   

 

 

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AR'I`ICLE VlI.
EXPENDITURES AND LIAHILITY OF PARTIES
A. Liabllity oanrties:

The hability of the parties shall be several, not joint or collective Esch party shall be responsibte only for its obligations, and
shall be liable only i`or its proportionate share of` the costs of developing and operating the Contract Area. Aecording]y, thc liens granted
among the parties in Artioie VIIiBi are given to secure only the debts of each severally, and no party shall have any liability to third parties
hereunder to satisfy the default of any other party in the payment of any expense or obligation hereunder. lt is not the intention of the
parties to create, nor shall this agreement be construed as creating, a mining or other partnership, joint venture, agency relationship or
association, or to render the parties liable as partners, co'vcnturers, or principals in their relations with each other under this agreement, the
parties shall not be considered fiduciaries or to have established a confidential relationship but rather shall be free to act on an arm`s-length
basis in accordance with their own respective self-interest, subject, however, to the obligation of the parties to act in good faith in their
dealings with each other with respect to activities hereunder.

B. Liens nod Security Intercsts:

Each party grants to the other parties hereto a lien upon any interest it now owns or hereaher acquires in Oil and Gas Leases and
Oil and Gas lnterests in the Contract .»°u'ea1 and a security interest and/or purchase money security interest in any interest it now owns or
hereafter acquires in the personal property and fixtures on or used or obtained for use in connection therewith, to secure performance cf all
of its obligations under this agreement including but not limited to payment of expense, interest and fces, the proper disbursement of all
monies paid hereunder, the assignment or relinquishment of` interest in Oil and Gas Leases as required hereunder, and the proper
performance of operations hereunder. Such lien and security interest granted by each party hereto shat| include such party‘s leasehold
interests, working interests, operating rights, and royalty and overriding royalty interests in the Contract Arca now owned or hereafter
acquired and in lands pooled or unitized therewith or otherwise becoming subject to this agreement, the Oil end Gas when extracted
therefrom and equipment situated thereon or used or obtained for use in connection therewith (including, without limitation, all wel|s, tools,
and tubular goods), and accounts (including, without limitation, accounts arising from gas imbalances or from the sale of Oil and/or Gas at
the wellhead)1 contract rights, inventory and general intangibles relating thereto or arising therefrom, and all proceeds and products of the
foregoing

To perfect die lien and security agreement provided hcrcin, each party hereto shall execute and acknowiedge the recording
supplement andfor any financing statement prepared and submitted by any party hereto in conjunction herewith or at any time foliowing
execution hereof, and Operator is authorized to file this agreement or the recording supplement executed herewith ss a lien or mortgage in
the applicable real estate records and as a financing statement with the proper officer under the Uniform Commercial Code in the state in
which the Contract Area is situated and such other states as Operator shall deem appropriate to perfect the security interest granted
hereunder. Any party may file this agreement. the recording supplement executed herewith, or such other documents as it deems necessary
as a lien or mortgage in the applicabie real estate records and/or a financing statement with thc proper officer under the Unif`orrn
Commercial Codo.

Each party represents and warrants to the other parties hereto that the lien and security interest granted by such party to the other
parties shall be a first and prior lien, and each party hereby agrees to maintain the priority of said lien and security interest against all
persons acquiring an interest in Oil and Gas Leases and lnterests covered by this agreement by, through or under such party. All parties
acquiring an interest in Oil and Gas Leases and Oil and Gas lnterests covered by this agreement, whether by assignment, merger, mortgage,
operation of`law, or otherwise, shatl be deemed to have taken subject to the lien and security interest granted by this Article VII.B. as to all
obligations attributable to such interest hereunder whether or not such obligations arise before or after such interest is acquired

'l"o the extent that parties have a security interest under the Uniform Commercial Code of the state in which the Contract Area is
situated, they shall be entitled to exercise the rights and remedies of a secured party under the Code, The bringing of a suit and the
obtaining of`judgment by a party for the secured indebtedness shall not be deemed an election of` remedies or otherwise affect the lien rights
or security interest as security for the payment thereof In addition, upon default by any party in the payment of its share of` expenses,
interests or fees, or upon the improper use of funds by the Operator, the other parties shall have the right, without prejudice to other rights
or remedies, to collect (`rom the purchaser the proceeds from the sale of such defaulting party's share of` Oil and Gas until the amount owed
by such party, plus interest as provided in "Exhibit C," has been received, and shall have the right to offset the amount owed against the
proceeds from the sale of such defaulting party‘s share of Oil and Gas. All purchasers of production may rely on a notification of default
from the non-defaulting party or parties stating the amount due as a result of the default, and all parties waive any recourse available against
purchasers for releasing production proceeds as provided in this paragraph

If any party fails to pay its share of cost within oiie-hundred-twenty[-l%€)@ety__@ days alter rendition ofa statement therefor by
Dperator, the non-defaulting parties, including Operator, shall upon request by Operator, pay the unpaid amount in the proportion that the
interest of each such party bears to the interest of all such parties. The amount paid by each party so paying its share of the unpaid amount
shall be secured by the liens and security rights described in Articie V]].B., and each paying party may independently pursue any remedy
available hereunder or otherwise

lf any party does not perform all of` its obligations hereundcr, and the failure to perform subjects such party to foreclosure or
execution proceedings pursuant to the provisions of this agreement, to the extent allowed by governing law, the defaulting party waives any
available right of redemption from and after the date of judgrnent, any required valuation or appraisement of` the mortgaged or secured
property prior to sale, any available right to stay execution or to require a marshaling of assets and any required bond in the event a receiver
is appointed In addition, to the extent permitted by applicable law, each party hereby grants to the other parties a power of sale as to any
property that is subject to the lien and security rights granted hereundcr, such power to be exercised in the manner provided by applicable
law or otherwise in a commercially reasonable manner and upon reasonable notice.

Each party agrees that the other parties shall be entitled to utilize the provisions ot" Oil and Gas lien law or other lien law of any
stale in which the Contract Area is situated to enforce the obligations of each party hereunder, Without limiting the generality of the
foregoing to the extent permitted by applicable law, Non-Operators agree that Operator may invoke or utilize the mechanics or
materialmen's lien law of the state in which the Contract Area is situated in order to secure the payment to Operator of any sum due
hereunder for services performed or materials supplied lay Gperator.

       

 

 

 

 

 

 

   

 

 

   

 

        

   

 

 

 

 

   

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whii.|li\e ')` ( Itgys any party Efails to pay its share of sat esima c within said tn'rte,q the

' vcr is |ater.
amount due shall bear interest as provided in Exhibit "C" until paid. Proper adjustment shall be made monthly between advances and actual
expense to the end that each party shall bear and pay its proportionate share of actual expenses incurred, and no more.
D. Del'nulls and Remed'res:

If any party fails to discharge any financial obligation under this agreement, including without limitation the failure to make any
advance under the preceding Article Vll.C. or any other provision of this agreexnent, within the period required for such payment
hereunder, then in addition to the remedies provided in Aitiele VI'I.B. or elsewhere in this agreement, the remedies specified below shall be
applicable l"or purposes of this Article VII.D., all notices and elections shall be delivered only by Operator, except that 0perator shall
deliver any such notice and election requested by a non-defaulting Non-Clperator, and when Operator is the party in default, the applicable
notices and elections can he delivered by any Non-Operator. Election of any one or more of the following remedies shall not preclude the
subsequent use of any other remedy specified below or otherwise available to a non-defaulting party,

l_ Suspension of Rights: Any party may deliver to the party in default a Notice of Default, which shall specify the default,
specify the action to be taken to cure the default, and specify that failure to take such action will result in die exercise of one or more of the
I}e:'ted ies provided in this Article. if the default is not cured within thirty-(SQ;\MM(ZQ) days of the delivery of such Notice of Defau}t, §§h?;"

oz the defaulting party granted by this agreement shall ni-ny-u-pen-netiee~be suspended until the default is cured, without prejudice to the right
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the non-defaulting party or parties to continue to enforce the obligations of the defaulting party previously accrued or thereafter accruing
under this agreements lf Operator is the party in default, the NonrOperators shall have in addition the right, by vote of Non-Operators
owning a majority in interest in the Contract Area alter excluding the voting interest of Operator, to appoint a new Operator effective
immediately The rights of a defaulting party that may be suspended hereunder at the election of thc non-defaulting parties shall include_
without |imitation, the right to receive information as to any operation conducted hereunder during the period of such default, the right to
elect to participate in an operation proposed under Article V[.H` of this agreement the right to participate in an operation being conducted
under this agreement even if the party has previously elected to participate in such operation, and the right to receive proceeds of
production from any well subject to this agreementl

2. Suit for Damages: blau-defaulting parties or Operator for the benefit of non-defaulting parties may sue (at joint account
expense] to collect the amounts in default, plus interest accruing on the amounts recovered from the date of default until the date of
collection at the rate specified in Exhibit "C" attached herelo. Nothing herein shall prevent any party from suing any defaulting party to
collect consequential damages accruing to such party as a result of the default.

3. Deemed Non-Consent: The non-defaulting party may deliver a written Notice of Non-Consent Election to the defaulting
party at any time after the expiration of the thirty-day cure period following delivery of the Noticc of Defau|t, in which event ii`the billing is
for the drilling a new well or the P|ugging Back, Sidetracking, Reworking or Deepcning cfa well which is to be or has been plugged as a
dry ho]e, or for the Compietion or Recompletion of any well, the defaulting party will he conclusively deemed to have elected not to
participate in the operation and to be a Non~Consenting Party with respect thereto under Article VI.B. or Vl.C., as the case may be, to the
extent of the costs unpaid by such party, notwithstanding any election to participate theretofore made lf election is made to proceed under
this provision, then the non~defaulting parties may not elect to sue for the unpaid amount pursuant to Artic|e VILD,Z.

Until the delivery of such Notice of Non-Ccnsent Election to the defaulting party, such party shall have the right to cure its
default by paying its unpaid share of costs plus interest at the rate set forth in Exhibit "C," provided, however, such payment shall not
prejudice the rights of the non-defaulting parties to pursue remedies for damages incurred by the non-defaulting parties as a result of the
default Any interest relinquished pursuant to this Atticlc V[[,D.S. shall be offered to the non-defaulting parties in proportion to their
interests, and the non-defaulting parties electing to participate in the ownership of such interest shall be required to contribute their shares
of the defaulted amount upon their election to participate therein.

N 4. Adv@ce Payment: ifa default is not cured within ten 1101 thhty-{£i{i)~days of the delivery cfa Notice of Defau|t, Operator, or
on-

Operators if Operator is the defaulting party, may thereafter require advance payment from the defaulting party of such defaulting pany‘s
anticipated share of any item of expense for which Dperator, or Non-Operators, as the case may bc, would be entitled to reimbursement
under any provision of this agreement, whether or not such expense was the subject of the previous default Such right includes, but is not
limited to, the right to require advance payment for the estimated costs of drilling a well or Completion cfa well as to which an election to
participate in drilling or Completion has been made. If the defaulting party fails to pay the required advance payment, the non-defaulting
parties may pursue any of the remedies provided in this Artiele V[[,D. or any other default remedy provided elsewhere in this agreement
Any excess of funds advanced remaining when the operation is completed and all costs have been paid shall be promptly returned to the
advancing party.

5, Costs and Attonieys' Fees: In thc event any party is required to bring legal proceedings to enforce any financial obligation ofa
party hereunder, the prevailing party in such action shall be entitled tc recover all court costs, costs of collection, and a reasonable
attorney's fee, which the lien provided for herein shall also secure
E. Renlnls, Shut~in Well Pnyme.ntit and Minimum Royal¢ies:

Renta|s, shut-in well payments and minimum royalties which may be required under the terms of any lease shall be paid by the
party or parties who subjected such lease to this agreement at its or their expense ln the event two or more parties own and have
contributed interests in the same lease to this ogreernent, such parties may designate one of such parties to make said payments for and on
behalf of all such parties Any party may request, and shall be entitled to receive, proper evidence of all such payments in the event of
failure to make proper payment of any renta|, shut-in well payment or minimum royalty through mistake or oversight where such payment
is required to continue the lease in force, any loss which results from such non-payment shall be borne in accordance with the provisions of
Article lV.B.Z.

Operator shall notify Non-Operators of the anticipated completion ofa shut-in well, or the shutting in or return to production of
a producing well, al least five (5) days {excluding Saturday, Sunday, and legal holidays) prior to taking such action, or at the earliest
opportunity permitted by circumstances but assumes no liability for failure to do so. I.n the event of failure by Operater to so notify Non-
Operators, the less of any lease contributed hereto by Non-Operators for failure to make timely payments of any shut-in well payment shall

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Tf thc assessed valuation of any Lease is reduced by reason of its being subject to outstanding excess roya}ties, overriding royalties or
production payments, |he reduction in ad valorem taxes resulting therefrom shall inure to the benefit of the owner or owners of such Leasc,

     

 

   

   

 

 

   

 

 

 

 

   

   

 

   

 

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and Opcrator shall adjust the charge to such owner or owners se as to reflect the benefit of such reduction It" the ad valorem taxes are based
in whole or in part upon separate valuations of each party‘s working interest, then notwithstanding anything tc the contrary hercin, charges
to die joint account shall be made and paid by thc parties hereto in accordance with the tax value generated by each party's working interest.
Operator shall bill the other parties for their proportionate shares of all tax payments in the manner provided in Exhibit "C."

If Operator considers any tax assessment lmproper, Oporator may, at iLs discretion, protest Wilhin the time and manner
prescribed by law, and prosecute the protest to a final determination, unless all parties agree to abandon the protest prior to final
detem‘rinationl During the pendency of administrative or judicial proceedingsl Operator may elect to pay, under protest, all such taxes and
any interest and penalty. When any such protested assessment shall have been finally deten'nined, Operator shall pay the tax for the joint
account7 together with any interest and penalty accrued, and the total cost shall then be assessed against the parties, and be paid by them, as
provided in Exhibit "C,"

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respect to the production or handling of such party's share of Oil and Gas produced under the terms ofthis agreement

ARTICLE Vlll.

ACQU[SITION, MAINTENANCE OR TRANSFER OF INTEREST
A. Surrender ofLenseS:

The Leases covered by this agreement, insofar as they embrace acreage in the Contract Arca, shall riot be surrendered iii whole
or in part unless all parties consent thereto.

However, should any party desire to surrender its interest in any Lease or in any portion thereth such party shall give written
notice of the proposed surrender to all parties and the parties to whom such notice is delivered shall have thirty (30} days after delivery of
the notice within which to notify the party proposing the surrender whether they elect to consent thereto l""ailure of a party to whom such
notice is delivered to reply within said 30-day period shall constitute a consent to the surrender of the Leases described irr the notice lf all
penies do not agree or consent L`nereto, the party desiring to surrender shall assign, without express or implied warranty of title, all of its
interest in such Lease, or portion thcreot`, and any well, material and equipment which may be located thereon and any rights in production
therea&er secured, to the parties riot consenting to such surrender. Ifthe interest ofthe assigning party is cr includes an Oil and Gas Interest,
the assigning party shall execute and deliver to the party or parties not consenting to such surrender an oil and gas lease covering such Oil
and Gas Interest for a term ot` one (l) year and so long thereafter as Oil and/or Gas is produced from the land covered thereby, such lease to
be orr the f'orrn attached hereto as Exitibit "B." Upcn such assignment or leasc, the assigning party shall be relieved from all obligations
thereatier accruing, but not theretofore accrued, with respect to the interest assigned or leased and the operation of any well attributable
t.lter‘eto, and the assigning party shall have no further interest in the assigned or leased premises and its equipment and production other than
the royalties retained in any lease made under the terms of`this Articlc. The party assignee or lessee shall pay to the party assignor cr lessor
the reasonable salvage value of the latter's interest in any well's salvable materials and equipment attributable to the assigned or leased
acreage The value of all salvable materials and equipment shall be determined in accordance with the provisions of Exliibit "C,“ less the
estimated cost of salvaging and the estimated cost of plugging and abandoning and restoring the surface. lt" such value is less than such
costs, then the party assignor cr lessor shall pay to the party assignee or lessee the amount of such deiicil. lf the assignment or lease is in
favor of more than one party, the interest shell tie shared by such parties in the proportions that the interest of each bears to the total interest
of all such parties lfthe interest of` the parties to whom the assignment is to be made varies according to dcpth, then the interest assigned
Shall similarly reflect such variances

Any assignment, lease or surrender made under this provision shall not reduce or change the assignor‘s, lessor's or surrendering
party's interest as it was immediately before the assignment, lease or surrender in the balance of the Contract Arca; and the acreage
assigned, leased or surrendered, and subsequent operations thereon, shall not thereafter be subject to the terms and provisions ot` Lhis
agreement but shall be deemed subject to an Operating Agreement in the l`orm of this agreement
B. Rene\val or Extenttitm of Lenses:

If any party secures a renewal or replacement of err Oil and Gas Lease or interest subject to this agreement, then all other parties
shall be notified promptly upon such acquisition or, in the case ot` a replacement Lease taken before expiration ot` an existing Lease,
promptly upon expiration of the existing Leasc. The parties nctilied shall have the right for a period of thirty (JU) days following delivery
of such notice in which to elect to participate in the ownership of the renewal or replacement Lease, insofar as such Lease effects lands
within the Contract Area, by paying to the party who acquired it their proportionate shares of the acquisition cost allocated to that part of
such Lease within the Contract Area, which shall be in proportion to the interest held at that time by the parties in the Contract Area. Each
party who participates in the purchase of a renewal or replacement Lease shall be given an assignment of its proportionate interest therein
by thc acquiring party.

If some, but less than all, of the parties elect to participate in the purchase of a renewal or replacement Lease, it shall be owned
by the parties who elect to participate therein, in a ratio based upon the relationship of their respective percentage of participation in thc
Contract Area to the aggregate of the percentages of participation in the Contract Arca of all parties participating in the purchase of such
renewal or replacement Lease. The acquisition of a renewal or replacement Lease by any or all of the parties hereto shall not cause a
readjustment ot` the interests of the parties stated irr Exhibit "A," but any renewal or replacement Lease in which less than all parties elect to
participate shall not be subject to this agreement but shall be deemed subject to a separate Operating Agreement in the form of this
agreement.

lf the interests ot" the parties iri the Contract Area vary according to dcpth, then their right to participate proportionately in
renewal or replacement Leases and their right to receive an assignment of interest shall also reflect such depth variances

The provisions of this Article shall apply to renewal or replacement Leases whether they are for the entire interest covered by
the expiring Lease cr cover only a portion cfits area or an interest therein. Any renewal or replacement Lease taken before the expiration of
its predecessor Lease, or taken or contracted t`or or becoming effective widrin six (6) months alter die expiration ot` the existing Lease, shall
be subject to this provision so long as this agreement is in el`l'ect at the time of such acquisition or at the time the renewal or replacement
Lease becomes eFfective', but any Lease taken or contracted for more than six (6} months aFter the expiration of an existing Lease shall not
be deemed a renewal or replacement Lease and shall not he subject to the provisions of this agreement

Th§ PIDViSlDHS in this ortile shall also be applicable le extensions ofOi| and Gas Leases

 

 

 

 

 

 

 

     

 

     

 

 

   

 

 

 

     

 

   

   

 

   

   

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governed by provisions identical to this agreementl Each party shall promptly notify all other parties of any acreage or cash contributions it
may obtain in support of any well or any other operation orr the Contract Area, The above provisions shall also be applicable to optional
rights to earn acreage outside the Contract Area which are in support of well drilled inside the Contract Area

If any party contracts for any consideration relating to disposition of such party's share of substances produced hereunder, Such
consideration shall not be deemed a contribution as contemplated iri this Article Vl[l.C.

D. Assignment; Msrinten.nnee ofUu'll`orirr Ilttorostt

For the purpose of maintaining uniformity ol` ownership in the Contract Area in the Oil and Gas Leases, Oil and Gas lnterests,
wells, equipment and production covered by this agreement rio party shall sell, encumber, transfer or make other disposition of its interest
in the Oil and Gas Leases and Oil and Gas lnterests embraced within the Contract Al'ea or in wells, equipment and production unless such
disposition covers oitlier:

1. the entire interest ol`the party in all Oil and Gas Leases, Oil and Gas Ittteresls, Wells, equipment and productloii; or

2. orr equal undivided percent of the party‘s present interest in all Oil and Gas Leases, {)il and Gas Interests, wells, equipment
and production in the Contract Arear t

Every sale, encumbrance, transfer or other disposition made by any party shall be made expressly subject to this agreement and
shall be made without prejudice to the right ol` the other parties, and any transferee of an ownership interest in any Oil and Gas Lease or
Interest shall be deemed a party to this agreement as to the interest conveyed from and after the effective dale of the transfer of ownership;
provided, however, that the other parties shall not be required to recognize any such sale, cncumbrance, transfer or other disposition for any
purpose hereunder until thirty (30) days alter they liavc received a copy ol` the instrument of transfer or other satisfactory evidence thereof
in writing f`rom the transferor or transferee No assignment or other disposition of interest by a party shall relieve such party of obligations
previously incurred by such party hereunder with respect to the interest transferred, including without limitation the obligation of a party to
pay all costs attributable to an operation conducted hereunder in which such party has agreed to participate prior to making such
sssignment, and the lien and security interest granted by Article V]lB. shall continue to burden the interest transferred to secure payment of
any such obligationsl

If, at any time the interest of any party is divided among and owned l.ry four or more co-owners, Operator, at its diseretion, may
require such crs-owners to appoint a single trustee or agent with l'ull authority to receive notices, approve expenditures, receive billings for
and approve and pay such party's share of the joint expenses, and to deal generally with, a.ud with power to bind, the co¢owners of such
paity`s interest within the scope oi'the operations embraced in this agreeinel‘ll; however, all such co~ owners shall have the right to enter irito
and execute all contracts or agreements for the disposition of their respective shares Ol` lite Oil and Gas produced from the Contract Area
and they shall have the right to receive, separately, payment of the sale proceeds thereof
E. Wniver ofRights 10 Partition:

1t` permitted by the laws of the state or states in which the property covered hereby is located, each party hereto owning an
undivided interest in the Contract Area waives any and all rights it may have to partition and have set aside tc it in severalty its undivided
interest therein, .

F. Prel`ereritial Riglrt lo Furcl’liise:
l;l lOptioiral: Check if applicable)

S|iould any party desire to sell all or any part of its interests under this agreement or its rights and interests in the Contract Area,
it shall promptly give written notice to the other parties, with hill information concerning its proposed disposition, which shall include the
name and address of the prospective transferee (vvho must be ready, willing and able to purchase}, the purchase prioe, a legal description
sufficient to identify the property, and all other terms of the offer. The other parties shall then have an optional prior right1 for a period of
ten (lO) days after notice is delivered, to purchase for the stated consideration orr the same terms and conditions the interest which the other
party proposes to scll; and, ifti‘lis optional right is exercised, the purchasing parties shall share the purchased interest in the proportions that
the interest of each bears to the total interest cl' all purchasing parties. However, there shall be rio preferential right te purchase in those
cases where any party wishes to mortgage its interests, or to transfer title to its interest to its mortgagee in lieu of or pursuant to foreclosure
ofa mortgage of its interests, or to dispose of its interests by merger, reorganization, corisolidat.ion, or by sale of all or substantially all ot`its
Oil and Gas assets to any party, or by transfer of its interests to a subsidiary or parent company or to a subsidiary ofa parent compariy, or to
any company in which such party owns a majority ofthe stock.

ARTICLE lX.
]NTERNAL REVENUE CODE ELECTION

lf, for federal income tax put‘pcses, this agreement and the operations hereunder are regarded as a partnership and if the parties
have not otherwise agreed to form a tax partnership pursuant to Exhibit “G" or other agreement between tlrem, each party thereby affected
elects to be excluded from the application of all of the provisions Of` Subchapter "K,“ Chapter 1, Subtitle “A," of the Intcrnal Revenue Code
of l936, as amended ("Code“), as permitted and authorized by Seclion 761 of the Code and the regulations promulgated thereunder
Operator is authorized and directed to execute on behalf of each party hereby affected such evidence of this election as may be required by
the Sccretary of the 't`reasury of the United States or the l"'ederal lntemal Revenue Service, including specifically, but not by way of
limitation, all of the retums, statements, and the data required by 'l'reasury Regulation §l.'.'Gl4 Should there be any requirement that each
party hereby affected give funher evidence of this election, each such party shall execute such documents and furnish such other evidence
as may be required by the Federal Intemal Revenue Service or as may be necessary to evidence tl'iis election No such party shall give any
notices or take any other action inconsistent with the election made hereby. It` any present or future income tax laws of the state or states in
which the Contract Area is located or any future income tax laws ol`the United States contain provisions similar to those in Subchapter "K,"
Chapter l, Subtitle ".J\," of the Coda under which an election similar to that provided by Section 761 of the Code is permitted, each party
hereby affected shall make such election as may be permitted or required by such laws. tn making the foregoing election, each such party
states that the income derived by such party from operations hereunder can be adequately determined without the computation of
partnership taxable income,

ARTICLE X.
CLA[MS AND LA\VSUITS
Operator may settle any single uninsured third party damage claim or suit arising from operations hereunder if the expenditure

 

 

 

   
   

 

 

      

    

 

     

 

 

 

 

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shall immediately notify all other parties, and the claim or suit shall he treated as any other claim or suit involving operations hereunder.
ARTICLE XI.
FORCE MAJEURE

If any party is rendered unable, wholly or in part, by force majeure to carry out its obligations under this agreemenl, other than
the obligation to indemnity or make money payments or furnish security, that party shall give to all other parties prompt written notice of
the force majeure with reasonably full particulars concerning it; thereupon, the obligations of the party giving the notice, so far as they are
affected by the force majoure, shall be suspended during, but no longer than, the continuance of the force rnajeure. The term "forco
majeure," as here employcd, shall mean an act of God, strike, lockout1 or other industrial disrurbance, act of the public enemy, war,
blockade, public riot, lightening, tlre, storm, flood or other act ot` nature, explosion, governmental action, governmental delay, restraint or
inaction, unavailability of equipment, and any other causc, whether of the kind specifically enumerated above or otherwise, which is not
reasonably within the control ofthe party claiming auspension.

The affected party shall use all reasonable diligence to remove the force majeure situation as quickly as practicablel The
requirement that any force majeure shall be remedied with all reasonable dispatch shall not require the settlement of strikes, lockouts, or
other labor difficulty by the party involved, contrary to its wishes; how all such difficulties shall be handled shall be entirely within the
discretion of the party concemed.

ARTIC'LE X]].
NOTICES

All notices authorized or required between the parties by any of the provisions of this agreement, unless otherwise specifically
provided, shall be in writing and delivered in person or by l.lnited States mail, courier service, telegram, telex, telecopi`er or any other form
of facsimile, postage or charges prepaid, and addressed to such parties at the addresses listed on Exhibit "A." All telephone or oral notices
permitted by this agreement shall be confirmed immediately dtereailer by written notice. The originating notice given under any provision
hereof shall be deemed delivered only when received by the party to whom such notice is directed, and the time for such party to deliver
any notice in response thereto shall mn from the dale the originating notice is received. "Receipt" for purposes ofthis agreement with
respect to written notice delivered hereunder shall be actual delivery of the notice to the address of the party to be notified specified in
accordance widt this agreement, or to the telecopy, facsimile or telex machine of` such party. ?hc second or any responsive notice shall be
deemed delivered when deposited in the United States mail or at the office of the courier or telegraph service, or upon transmittal by telet<,
telecopy or facsimile, or when personally delivered to the party to he notified, provided, that when response is required within 24 or 48
hours, such response shall be given orally or by telephone, telex, telecopy or other facsimile within such period Each party shall have the
right to change its address at any time, and from time to time, by giving Written notice thereof to all other parties. If a party is not available
to receive notice orally or by telephone when a party attempts to deliver a notice required to be delivered within 24 or 48 hours, the notice
may be delivered in writing by any other method specified herein and shall be deemed delivered in the same manner provided above for
any responsive notice.

ARTICLE XIII.
'I`ERM OF AGREEll/iEN']`

This agreement shall remain in full force and effect as to the Oil and Gas Leases and/or Oil and Gas Intcrests subject hereto for
thc period of time selected below', provided, however, no party hereto shall ever be construed as having any right, title or interest in or to
any Lease or Oil and Gas Interest contributed by any other party beyond the term cftltis agreement

flIlOption No, 11 So long as any of the Oil and Gas Leases subject to this agreement remain or are continued in force as to any part
ofthe Contract Area, whether by production, extension, renewal or otherwise

l:l Qgtion No. 2: ]n the event the well described in Article Vl.A., or any subsequent well drilled under any provision of this
agreement, results in the Cornplelion of a well as a well capable of production of Oil and/or Gas in paying quantities, this
agreement shall continue irl force so long as any such well is capable ofproduction, and for an additional period of`

days thereal`ter‘, provided, however, if, prior to the expiration cf such additional period, one or more of the parties hereto are

engaged in drilling, Reworl<ing, Deepening, Sidetracking, Plugging Back, testing or altemptingrto Complete or Re-complete a

well or wells bcreunder, this agreement shall continue in force until such operations have been completed and if production

results therefrom, this agreement shall continue in force as provided herein. In the event the well described in Article VI.A., or
any subsequent well drilled hereunder, results in a dry hole, and no other well is capable of producing Oil and/or Gas from the

Contract Area, this agreement shall terminate unless drilling, Deepening, Side|racking, Completing, Re- completing, Plugging

Bacl< or Reworlcing operations are commenced within days from the date of abandonment of said wel]. “Abandonrnent”

for such purposes shall mean either (i) a decision by all parties not to conduct any further operations on the well or {ii) the

elapse of 180 days from the conduct ofany operations on the well, whichever first occurs

The termination of this agreement shall not relieve any party hereto from any cxpense, liability or other obligation or any
remedy therefor which has accrued or attached prior to t.be date of such termination

Upon termination of this agreement and the satisfaction of all obligations hereunder, in the event a memorandum of this
Operating Agreement has been filed of record, Operator is authorized to tile of record in all necessary recording offices a notice ot`
termination, and each party hereto agrees to execute such a notice of termination as to Opera|or's interest, upon request ot" Operator, if
Operator has satisfied all its financial obligations

ARTICLE XIV.
COM]?L[ANCE WITH LAWS AND REGU LATlONS
A. Laws,Regulations and Orders:

This agreement shall be subject to the applicable laws of the state in which the Contract Area is located, to the valid rules,
regulations, and orders of any duly constituted regulatory body of said slate; and to all other applicable fedeml, srate, and local laws,
ordinances, rules, regulations and orders
B, Governing an:

This agreement nmi all matters pertaining hereto, including but not limited to matters o|` performance, non-

performance, brench, remedies, procedures, rigltts, dsaties, nnd interpretation or construetlnn, shall be governed and determined by

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or adjacent to the Contract Area.

With respect to the operations hereunder, Non-Operators agree to release Operalor l`rom any and ali losses, damages, injuriesz
claims and causes of` action arising out of, incident to or resulting directly or indirectly from Opcratol‘s interpretation or application of rules,
rulings, regulations or orders ofthe Department ofEnergy or Feclerai Energy chuiatory Commission or predecessor or Successor agencies
to the extent such interpretation or application was made in good faith and does not constitute gross negligence Eaeh Ncn-Operator further
agrees to reimburse Operaror for such Non-Operator‘s sharc of production or any refund, iine, levy or other governmental sanction that
Operator may be required to pay as a result of such an incorrect interpretation or apptication, together with interest and penalties thereon
owing by Operator as a resuit of such incorrect interpretation or application

ARTICLE XV.
MISCELLANEOUS
A. Execution:

This agreement shall he binding upon each Non-Operator when this agreement or a counterpart thereof has been executed by
such Non-Operator and Operator notwithstanding that this agreement is not then or thereafter executed by ail of the parties to which it is
tendered or which are listed on Exhibit "A" as owning an interest in the Contract Area or which own, in fact, an interest in the Contract
Areai Operatnr may, however, by written notice to all Non»Operators who have become bound by this agreement as aforesaid given at any
time prior to thc actuai Spud date of the Initial Well but in no event later than five days prior to the date specified in Articie VI.A. for
commencement oi' the Initial Weli, terminate this agreement if Operator in its sole discretion determines that there is insumcient
participation to justify commencement of drilting operations in the event of such a termination by Operator, ali further obiigations ot` the
parties hereunder shall cease as ol` such termination In the event any Noa-Operator has advanced or prepaid any share of drilting or other
costs liereunder, all sums se advanced shall be returned to such Non~t]perator without interest Exccpt as otherwise provided in Articte
lV‘B, in the event operations on a well shall be commenced without execution of this agreement by all persons listed on Exhibit “A” as
having a current interest in such we|l, or in the event that subsequent to the commencement of operations on the weil previously unknown
or undisclosed persons owning working interests in a well are discovered, or both, the parties executing this agreement agree to one of the
foilowing:

l:lthion No. ir Operator shall indemnify executing Non-Operators with respect to all costs incurred for the weil which would
have been charged to each such person under this agreement as if such person had executed the same and Operator shali receive
all revenues which would have been received by each such person under this agreement as it` such person had executed the samc.

EOption No. 2: The Operator shall advise all parties of the total interest of the parties that have executed this agreement Each
party executing this agreement, within forty-eight (48) hours (exciusivc cf` Saturday, Sunday, and legal holidays) a.l`ter delivery
of such notice, shall advise the Operator of its desire tc (i) limit participation to such party’s interest as shown on Exhibit “A" or

(ii) carry only its proportionate pan {determined by dividing such party’s interest in the Contract Arca by the interest of all

parties executing this agreement) of non-executing persons’ interests, or (iii] carry its proportionate part (detcrmined as provided

in (ii)) of non~executing persons’ interests together with all or a portion oi` its proportionate part of any non-executing persons
interests that any executing party did not elect to take Any interest of non~executing persons that is not carried by an executing
party shatl be deemed to he carried by the Operator. Faiiure to advise the Operator within the time required shall be deemed an

election under (i}‘

B. Successors and Assigns:

This agreement shall be binding upon and shall inure to the benefit ol` the parties hereto and their respective heirs, devisees, legal
rcpresentatives, successors and assigns, and the terms hereof shall be deemed to run with the Leases or lnterests included Within the
Contract Area
C. Counterparts:

This instrument may be executed in any number of`counterpaits, each of which shall be considered art original for all purposes
D. Severuhility:

For the purposes of assuming or rejecting this agreement as an executory contract pursuant to federal bankruptcy laws, this
agreement shall not be severable, but rather must be assumed or rejected in its entirety, and the failure ot` any party to this agreement to
compr with all of its financia} obligations provided herein shall be a material default

 

 

 

   

     
 

 

 

     

   

     
     

   

 

 

 

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ARTICLE XV'£.
OTHER PROVISIONS
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lN WITNESS WHEREOF, this agreement shell bn effective as ofthe 30th day of` Ju|y , 201 SW.
Prirnera Enerev LLC M who has prepared end circulated this form fur execution, represents and warrants

 

that the dform was printed from and, with the exceptiun(s) listed beluw, is identical to the AAPL F`urm 6}0-1989 Model Form Opcrating
Agreement, as published in computerized form by Forms On-A-Disk, Inc. No changes, alterations, or modifications, other than those made
by strikethroug,h andfer insertion and that are clearly recognizable as changes in Articles II~X XlIl XlV XVI

have been made to the form 1

A'l“I`EST OR WITNESS: OPERATOR
Primera F.nergv LLC

legest

 

 

 

Typa or print name

Title Trustee
Date 7130/2015

Tax ID or S.S, Nn.

NON-OPERA'I`ORS

 

By

 

Typc or print name

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Date

 

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ACKNOWLEDGN[EN'FS
Note: The following t"on'ns of acknowledgment are the short femis approved by the Uniform Law on Nc»tarial Acts. The validity and effect

of`|hese forms in any state will depend upon the statutes ofthat state

 

Individual acknowledgment

State of )

) ss.
Cn\mty of

This instrument was acknowledged before me on

 

 

   

 

 

 

 

 

 

by
(Seal, if any)
Title, (a.nd Rank]
My commission expires
Aeknnwfedgment in representative capacity:
Statc of )
) ss.
Counly of )
This instrument was acknowledged before me nn
by 1 as

 

of

 

(Seal, ifany]

 

Tifle (and Ranlc)

My commission expires

   

 

   

 

 

 

 

 

 

 

 

 

 

Primera }OA
Exhibit A-2

Attached and made part ofthe 10th Operating Agreement for Primera Energy, LZ_C. Fo[|owing are the
contact information for the parties in the agreement

Primera Energy, LLC

C/O Jason Searcy, Trustee
PO Box 3929

Longview Texas, 75606

Traton Engineering Associates, LP
Patric|< W. I\/lerritt

1415 N l__oop W

Suite 1250 .

Houston, Texas 77008

EXHIBIT B

Producing Overhead Rate Structure

< 5 Wells $1,200 / month / Well
5-15 Wells $1,000 / month / Well
> 15 Wells $750 / month / Well
Shut-In Wells 3125 / month / Well

v Drilling Overhead Rate shall be 10 times Producing Overhead Rate and prorated daily for the
number of days of the operation

¢ Additional Revenue Distribution: Traton’s overhead rates cover distributions of any
royalties, overriding royalties, and Working interest payments for up to 50 payees per month
per Well. When or if the number of payees increases to more than 50 per month per Well on
any well, then for each additional 50 payees the fee shall increase by $30() per month per
Well.

EXhlbllf B 110 Page 1
Contract Operator Services Agreement

EXHIBIT C

Hourly Rate Structure
Engineering Services:
Senior Engineer $225.00 / hr
StaffEngineer $195.00 / hr
lunior Enginecr $175.00 f hr
Techl $125.00/hr
chh ll _ $II0.00/hr
Accounting $l 10.00 / hr
Clerical $55.00 / hr
Fie[d Consultation Services:
Daylight $1,3 00
24 Hour $1,700
Additional Expenses to fees above:
Milcage f Trans. Exp. $1.00 per mile via car or actual travel
expense if other transportation taken
Lodging lnvoiced at cost
Mcals $35.00 per day
Phone, Computer $30.00 per day
Insurance 7% of Field consulting rates
Exhibit C to Page l

Contract Operator Services Agreement

EXHIBIT D
Insurance

i. Each Party understands and agrees that each Party will be responsible for its own proportionate interest in
the event of any losses, liabilities or expenses arising out of any operation.

2. Each Party hereby waives its rights of recovery against all other Parties to the Agreement, and agrees that
all insurance will be suitably endorsed to effectuate this waiver of subrogation

As to all operations hereunder, Owner shall carry the following insurance and shall name Contractor as co-insured
and furnish Contractor with proof of such coverage, to-wit:

WORKER’S COMPENSATION INSURANCE, covering Owners employees engaged in
operations on the lands subject to this agreement in compliance with the laws of the State in which
said lands are situated and El\/IPLOYER’S LIABILITY ]NSURANCE of not less than $1,000,000
for injuries or death to any one employee and $1,000,000 for injuries or death of more than one
employee resulting from any one accidentl

GENERAL PUBLIC LIABILITY AND PROPERTY DAMAGE lNSURANCE in connection
with all operations conducted by Owner hereunder, with bodily injury and death limit of not less
than $1,000,000.00 per accident, $2,000,000.00 aggregate Provided further than such property
damage insurance shall not exclude Operator’s liability for loss of or damage to property on or
above the surface of the earth arising from a blowout or cratering of a gas or oil weli; and

AU'I`OMOBILE PUBLIC LIABILITY AND PROPERTY DAMAGE INSURANCE in
connection with all operations conducted by Owner hereunder (including coverage on owned and
non-owned automotive equipment) with bodily injury or death limit of not less than $1,000,000.00
for injuries to or death of any one person resufting from any one accident, and not less than
3500,000 for injuries to or death of more than one person resulting from any one accident, and
property damage limit of not less than $25,000 per accident

WELL CONTROL INSURANCE with limits of liability of not less than $3,000,000 for wells
with total depth between 0-5000', $5,000,000 for wells with total depth between 5~10000' is
SSmm, and 310,000,000 for wells with total depth of 10000‘ and below for any one occurrence

As to all operations hereunder, Contractor shall carry the following insurance and shall name Owner as co-insured
and furnish Owner with proof of such coverage, to~wit:

WORKER’S COMPENSATION INSURANCE, covering Contractors employees engaged in
operations on the lands subject to this agreement in compliance with the laws of the State in which
said lands are situated and EMPLOYER’S LlABILITY iNSURANCE of not less than $1,000,000
for injuries or death to any one employee and $1,000,000 for injuries or death of more than one
employee resulting from any one accident

GENERAL PUBLIC LIAB!LITY AND PROPERTY DAMAGE INSURANCE in connection
with all operations conducted by Contractor hereunder, with bodily injury and death limit of not
less than $1,000,000.00 per accident, $2,000,000.00 aggregate; and

AUTOMOBILE PUBLIC LIABIL|TY AND PROPERTY DAMAGE lNSURANCE in
connection with all operations conducted by Contractor hereunder (including coverage on owned
and non-owned automotive equipment) with bodily injury or death limit of not less than
$1, 000, 000. 00 for injuries to or death of any one person resulting from any one accident, and not
less than 5500, 000 for injuries to or death of more than one person resulting from any one
accident, and property damage limit of not less than $25, 000 per accidentl

Exhibit D to Page 1
Contract Operator Services Agreement

Exhibit I) to Page 2
Contract Operator Services Agreement

Exhlbit A-l Description of tends

This Exhlbit is attached to and made part ofthe Joint Operating Agreernent for Primera Energy, LI_C
dated Ju|y, 2015

The following Wei| list and plats describe the lands that are made a part ofthis loint Operating
Agreement. -

 

 

 

 

 

 

 

 

 

 

Prirnera Energy, LLC Operator No. 677835 P-5 £xpires 4-1-
2016

Well AP| Lease No Type County

Screaming Eag|e A 2H 311-35222 271486 gas |VlclVlu||en

Screaming Eag|e A 3H 311-35588 273428 gas lVlcl\/lu||en

Screaming Eag|e B 4H 177-33240 17965 oil Gonzales

Screaming Eagle B 6H 177-33553 Dri|| Perrnit No Location Gonza|es
800690 only

Legacv lH 337-34587 31974 oil l\/lontague

Legacy A 2H 337~34589 32042 oil l\/lontague

Biackhawk 1 177-33615 Dril| Permit No Location Gonza|es
805720 only

 

 

 

 

 

 

 

 

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REGISTERED PROFESSIONAL LAND SURVEYOR

 

SURVEY: PANOLA COUNTY SCHOOL LAND,_A-SB'/‘ BLOCKS 55 §_r. 58

 

MONTAGUE COUNTY, TEXAS

 

LEASE DESIGNAT|ON: LEGACY

 

SURVEY FOR: CANAN OPERATlNG, lNC.

 

 

CORLETT, PROBST 8c BOYD, .P.L.L.C.
ngineers and Surveyors
76302

4605 Jacksboro Highway, Wichita Fa]ls, Texas
Phone: 940.723.1455 Fax: 940.397.0549 email: cph@vrf.net

 

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scawm@ M.E A § ZH SURFACE LOCAT|ON (SL}, X: 2202454. Y: 225353. Lut`ltude: 25' 27' 05.55”, Lcnqr'tudei 98' 22' 12.20':
PENETRAT|ON F'O|NT (PP), X: 2202554, Y: 22512+, Latitiuder 28' 2`7' 03,52', tongitude: 98‘ 22' 10.87'; F|RS'F TAKE POlNT (F|'F), X:
2202425, Y: 225441. L.ai.ll’.lude: 2B' 27' OB.B?”. Longitude: 98' 22' 12.26'; LAST TAKE PO|NT (LTP}. X: 2201305, Y: 228721. Letltude: 25'
27' 59.20", Lonql'iude: QB' 22' 24.55'; TERM|NUS, X: 2201254-. Y: 225532, Ldfitudel 28' 27’ 40.60", Longitl|de: §B' 22' 25.21".

Surfcrce location is situated 330' from the southeast lease line end 480' from the southwest lease line and 926' from the southeast

survey line and 9572' from the southwest survey |ine; Penetratian Point ie situated 149’ from the southeast lease Er'ne and 315' from the
southwest lease line and 7+4-' from the southeast survey line and 9405‘ from the southwest survey iiae; First Tclke Point is situated 388'
from the southeast lease line and 577' from the southwest lease llne; Laet Take Point la lltuated 604-' 1Ircrr'l the northwest lease l¥ne and
662' from the northeast lease line; Ten'ninus le situated 544' from the northeast lease line and 513' from the northwest lease line and

5165' from the southeast survey line cruel 8515' from the northwest survey llne, situated approximately 11 miles west from the town of
Three Rvore.

There may be existing pipelines not shown an this plat. Use the Texaa One Call Syal'.em to locate pipelines before performing any
excavation an this pmparty.

Bearlnga, dlataneee. end coordinates are based on the Texas State Plane Coordlnate Syetern, Nerth Amen'ean Batum of 1927, South
Central Zane.

PLAT SHOW|NG AS-DR|LLED LGCAYEON MADE FOR
PRIMERA ENERG'Y
SCREAM|NG EAGLE A # 2H
JAMES GARNER SURVE¥. ABSTRACT -- 5
MGMULLEN COUN`lY. TEXAS
SCALE 1" = 1000'

 
 
 
 
 
 
 

Eby ar Petrus Survey
506 Secund Strae‘i:
P.O. Box 1284
Woadsboro, `i`X 78395
Phone 56¥-545-8161
Fax 361-288-3458

Registered Prof. Land Surveyor
Regietration No. 6198

 

 

 

 

   

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PLAT SHOW|NG LOCAT[ON MADE FOR
PRIMERA ENERCY
SCREAMING EAGLE A # SH
JAMES GARNER SUR’VEY, ABS`|'RACT -» 5
McMULLEN COUNTY, TEXAS
SCALE ‘l" = 1000'

SCREAMING EAGL€ A fl 511 $URFACE LOCAT|ON {SL). X: 2202045, Y: 225465. Lalituda: 28‘ 27' 06.95", Lor\gilude: SB' 22' 15.55";
FENEiRATiON P[)lNT (PP). X! 2202371, `f: 225050. l.otiliur$e: 28' 27' 02.51", Longitude: 98` 22' 12.93"; F|RST '{AKE PO|NT {FtP). X.‘
2201703‘ Y: 22555?, Latitutde: 28‘ 27` 07.86". Longitude: 98' 22' QD,SE"; LAST TAKE PO|NT (LTP), X: 2200326. Y,' 228123. Latitude: 25`

27` 35.51", Longitude: BB` 22' 50.05": BDTTOM HOt_E LOCAT|GN (Bt'lt_). K: 2201091, `(t 229{338. L¢Jtilvds: 28' 27' 42.65". Longitur:|s: 98‘
22' 27.02“.

Surtace location is situated 740' from the southeast lease line and 455' from the Southwsst lease line and 13556' from the southeast
survey line ana 9569' irom the southwest survey tine; Penatration Point is situated 285` from the southeast ieose line and 14t' from the
southwest lease line and B`»'?' from the southeast survey line and 9233' from the southwest survey llne; First Tal<a Point is situated 452'
from the southwest lease line and 1093` irarn the southeast lease |ir\e; Last Tolre Poiot is situated 532' from the northwest lease line
ana 13?8’ from the northeast loose line.' Sotlam hale location ls situated 579' from the northeast lease line and 289' from the

northwest lease line and 55§4' from the southeast survey line and EJG.`.'»' from the northwest survey line, situated approximately 11 miles
west |‘rom the town of Three Rivora.

There may be existing pipelines not shown an this plot.

Use the isaan Gna ('.`all Syslern to locate pipe¥ines before performing any
excavation on this property.

Beorings. distancesl end coordinates are based on the iean Stole Plans Ceardinote Syalem. Nerth Amoricnr\ Dnlum oi 1921 Sauth
Centrol Zone.

   
 
 
 
 
  

Eby & Petrus Survey
506 Second Street
P.O. Box 1284
Woodsboro\ TX 7859.'5
Pi'\one 361-545~515]
Fox 361-288~84.33

Registered Prof. Lond Surueyor
Registrotion No. 5193

 

 

 

J. G.'BSON SUR VEY

 

 

 

 

 

 

 

      
   
   
   

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l.. MALLET SURVEY
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mi m l M. I‘l| SURFACE HDLE LOSAT|DN (SHL). X: 2560267, Y: 8?4409, Lntltude: 29‘ 40' .'M.T.'!', Langiiude: 97‘ 11' 00.02"; KlCK OUT PlJ|NT
(KOP), X: 256¢5356. \': B'HBJ°, Lotl‘l.ude£ 29' 40' 39.97', Longl'll.lda: 97' 12' 58.93'; PENE|'RAT|ON PU|NT (PP). X: 2556987. Y: 674-403. Lotltud¢: 2§' 4-0' 54.70',
LBN§NUd¢! 97 13' 02-05'1 BOT!'UM HOLE LDCAT¥DN {EHL], X: 2561035, Y: 670203, Letl'l.uda‘. 2§‘ 39' 54.5|'. Longitudl: 97' 13' 26.05'.

Surfona hcfa location ll located 192' from the southeast lease linn and §27' from the north leon l|no end IOU`I' imm the aunt survey line nmi 1§2' from
the wu‘thuult Il.zrvey |lne: Klek out paint ll located 551' from the east lease |lno end 400' from the north lease llne; Fenetre'l}on point il located BBO’ from
the southealt lease line and 827' from the north leale [ine: Bo!turn hole location lt situated 550' from the envtth levee line and 550' from the wulh\uelt
leone line end 350' from the nutheeet survey line and 5411’ fmm the went many irne. nltuet»d eppmlnm¢tely 5 mun gm mm ih- mn of w¢¢|d.rl nr_
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PLAT SHOW|NG LOCAT!ON MADE FOR
PR|MERA ENERGY
SCREAM|NG F_`AGLE B NO. 6H
J. G|BSON SURVEY, A-25
GONZALES COUNT`(, TEXAS
1000 0 500 1000

IN FEET )
This plat meets the re uiremlnte for filing o well location plat with the Te)¢os Rollroud Commionion and ls intended soier for
that puri:ose. 'l’hls pl la not intended to represent a boundary survey and does not meet the requirements for boundary
surveys n the Stote of Texaa. prepared this the 21lh day of .Jonuory, 2014-.

   
   

     
   

  
   

 
 

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600 Sacond Street (

P.O. Box 1254 ._
Wondebnm, TX 75595 . 0
Phol'l& 351-543-8€51
Fw¢ 551-283-8458

      
 

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Regiatered Profeeslonel hand Surveyor
Registration No. 6198

 

 

 

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J. G.'ESON SURVEY

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L. MA.LLET SURVEY
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3 m 4" SURFA€E HOLE LQCA'HCN (SHL), X: 2568829, Y: 674445, Lat'¢tz.lde: ZB' 40' 35.01". Lnngitude: 97` 12' 83.65'; KiCl-t OUT PQ|NT

{KUP), Xi 2567061, \": 675019, totltude: 2£‘ 40' 40.65', Lnngftude: 'l?‘ 12' 50.91'; PENE¥RATION POlNT' (PP), X: 2566804, ‘t’: S`HBBB, latituder 29' 40' 5¥.52",
!.nnqitude: !7' 12' El.!‘l"; FlRST TAKE PO|NT (F|'P), ill 2558031. Yr 674898, L¢:l.itude: E.B‘ 40' 59.52", Lenglttlde: 97' 12'55.81": LAS|' T»\KE PDlNT (LTP), ll:
2564850. Y: 674809, Lntltude: 2554-580. Lonqltude: 07 13' 15.87'; TERM|NUS, X: 2554455, Y: 6743.`!9, Lnt!b.idl! 29‘ 40' 39.26', Lanqiludo: 8`!` 13' 20.1_5'.

Surfaee hole location le %ocated 402' from the east leoee line end 212' from the southwest lease line and 7445' from the east eurvey line and 212' from the

southwest survey line: Kfl:k out point le laeated 159' from the east leaes llne and 345' from the north lease line; Penetratlon paint le located 511' from the

east lease line and 450' from tire north leole |ine; Firet take point ie located 554' from the east lease line and 451' from the north lessee line; bolt take

paint is located 1810' from the sentheeet leon line and 478' from the north leon liner Terminae is located 1976' from the southeast |eeee line and 454'

german tlilbe° naTrt‘h lease line and EMB' fmm the west survey line and 685|!’ from the north survey linel situated approximately 6 miles northwest from the tenn
ou nl .

Then moy be existing pipelines nat shown en this plat. Use the Texea One Co|| Syebem tn locate pipelines before performing any excavation an this proporty.
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PLAT SHOW|NG AS-~DRILLED LOCAT|ON MADE FOR
PRlMERA ENERGY
SCREAM|NG EAGLE B NO. 4H
J. GIBSON SURVEY. A-23
GONZALES COUNTY, TEXAS
1000 0 500 1000

( m FEET )
Thie plat meets the requirements for filing a well location plat with the Teuea Railroed Commieelon and in intended solely for

that purpose This plat is not intended to represent a boundary survey and does net meet the requirements for boundary
surveys on the Stclte of Te)ms, prepared this the 29th day of December, 2014.

4\.

 

FlRM RF_‘G. NQ. 10395705
500 Seeor:d Street

P.O. Elox 1284
Woodabam, TX 78593
Phone 351-543-5151
Fou 381~288-5438

 

BAM§:MM z,:{/ ` l_

Reglatered Profeesianal Land Sur\reyor
Raglstration No. 6198

 

 

 

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J. G)BSON SURVEY
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PRIMERA ENERGY

 

 

BLACK HAWK No. 1

WELL LOCATION
380 ACRE UMT
A_BSTRACT 23 ~ J'. GIBSON SU.'RVEY
GONZALES COUNTY', TEXAS

1000 0 1000 FEET

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Surface Hoie Location (SHL):
7046' FWL & 630' FSEL
Longitude: -9?° 13‘ 05.69"
Lalltude: 29“ 40' 34.63"

X = 2565767
Y = 674391
E|evatian: 340' GL.

15 M||as E of Wae|der, TX

K|CK DFF PO|NT {KOF'), Longitudei -97“ 13' 05.38",
La!itude‘. 2§° 40' 39.80", X: 2565780, Y: 574-919

PENETRAT[ON PO|NT(PP). Longlluda: ~9?° 13’
08.52" Lafitl.lde: 29' 40' 34.59", X: 2565518,
\’: 674333

BO`|TOM HOLE LOCAT|ON (BHL), Long'itude: -97'
13' 28.38", Latilude: 29“ 40' 01 .1B". X: 2503017,
Y: 670902

 

 

Bearings. distancesr and coordinates are based
nn the Nonh Arnerlcan Daturn of 1927
Coord|nale Syslem. Taxas State P|ane, Saulh
Cer\iral Zone.

Geugraphic Cuordinetes are based un the idlo
American Dalum of 1927.

IHEREBY STATE THIS PLAT TO BE TRUE &
CORREC|' TO THE BEST OF l\'l‘( KNOWLEDGE.

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